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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA

    Chrystle M., 1                         )       C/A No.: 1:20-2927-MGL-SVH
                                           )
                       Plaintiff,          )
                                           )
          vs.                              )
                                           )             REPORT AND
    Andrew M. Saul,                        )          RECOMMENDATION
    Commissioner of Social Security        )
    Administration,                        )
                                           )
                       Defendant.          )
                                           )

         This appeal from a denial of social security benefits is before the court

for a Report and Recommendation (“Report”) pursuant to Local Civ. Rule

73.02(B)(2)(a) (D.S.C.). Plaintiff brought this action pursuant to 42 U.S.C. §

405(g) and § 1383(c)(3) to obtain judicial review of the final decision of the

Commissioner of Social Security (“Commissioner”) denying her claim for

Disability Insurance Benefits (“DIB”). The two issues before the court are

whether the Commissioner’s findings of fact are supported by substantial

evidence and whether he applied the proper legal standards. For the reasons

that follow, the undersigned recommends the Commissioner’s decision be

reversed and remanded for further proceedings as set forth herein.


1 The Committee on Court Administration and Case Management of the
Judicial Conference of the United States has recommended that, due to
significant privacy concerns in social security cases, federal courts should
refer to claimants only by their first names and last initials.
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I.    Relevant Background

      A.    Procedural History

      On January 30, 2019, Plaintiff protectively filed an application for DIB

in which she alleged her disability began on January 19, 2016. Tr. at 117,

193–94. Her application was denied initially and upon reconsideration. Tr. at

118–21, 126–29. On March 3, 2020, Plaintiff had a hearing before

Administrative Law Judge (“ALJ”) Richard LaFata. Tr. at 29–82 (Hr’g Tr.).

The ALJ issued an unfavorable decision on March 30, 2020, finding that

Plaintiff was not disabled within the meaning of the Act. Tr. at 9–28.

Subsequently, the Appeals Council denied Plaintiff’s request for review,

making the ALJ’s decision the final decision of the Commissioner for

purposes of judicial review. Tr. at 1–6. Thereafter, Plaintiff brought this

action seeking judicial review of the Commissioner’s decision in a complaint

filed on August 12, 2020. [ECF No. 1].

      B.    Plaintiff’s Background and Medical History

            1.    Background

      Plaintiff was 31 years old at the time of the hearing. Tr. at 45. She

completed high school and two years of college. Id. Her past relevant work

(“PRW”) was as warehouse worker, a cashier, a kennel attendant, a retail

customer support specialist, and a logistics, shipping and receiving clerk. Tr.



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at 71–73. She alleges she has been unable to work since April 1, 2016. 2 Tr. at

42.

             2.    Medical History

       On April 1, 2016, Plaintiff visited Barbara M. McManus, M.D. (“Dr.

McManus”), for a neurology consultation as to headaches. Tr. at 733. She

reported a history of migraines and recent, persistent, and severe headaches

with initial onset four to five weeks prior. Id. She described the headaches as

presenting initially with a dull pain in her temples, becoming sharp and

throbbing, and accompanied by photophobia, phonophobia, nausea, vomiting,

and dizziness. Id. She rated her headache as a two on a 10-point severity

scale during the visit and indicated her headaches sometimes reached a nine.

Id. Dr. McManus noted Plaintiff had an 11-month-old child and was studying

medical coding as a full-time student. Tr. at 733–34. Plaintiff endorsed poor

sleep. Tr. at 734. Dr. McManus recorded normal findings on physical and

neurological exams. Tr. at 735–36. She referred Plaintiff for magnetic

resonance imaging (“MRI”) of the brain, prescribed Topirimate, encouraged

her to follow up with her sleep doctor, and suggested she take Riboflavin 400

mg and Magnesium 400 mg supplements daily. Tr. at 736.

       On April 9, 2016, an MRI of Plaintiff’s brain was normal. Tr. at 750–51.


2Plaintiff amended her alleged onset date during the hearing to account for
work performed after her initial alleged onset date. See Tr. at 42.
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      On April 21, 2016, Plaintiff complained of constant frontal headaches

that differed from her usual migraines. Tr. at 730. She indicated she was able

to sleep, but did not sleep well and continued to feel tired during day. Id. Her

sleep medicine physician, Fitzgerald E. Drummond, M.D. (“Dr. Drummond”),

stated he was uncertain whether Plaintiff’s poor sleep was causing or

contributing to her headaches, but the two were often linked. Tr. at 733. He

ordered a multiple sleep latency test (“MSLT”). 3 Id.

      On June 28, 2016, Plaintiff underwent the MSLT. Tr. at 772. She took

five naps over the testing period, with sleep onset at seven-and-a-half

minutes, three minutes, four-and-a-half minutes, three-and-a-half minutes,

and two minutes. Tr. at 772–73. This resulted in mean sleep latency of 4.1

minutes. Tr. at 773. Dr. Drummond explained the results were consistent

with significant objective daytime hypersomnia. Id. He indicated Plaintiff

appeared to have no onset rapid eye movement (“REM”) periods. Id. Although

he noted at least two sleep onset REM periods were required to support a

diagnosis of narcolepsy, he stated Plaintiff’s results did not exclude the

possibility of narcolepsy. Id.


3“An MSLT is a full-day test consisting of five scheduled naps that test for
excessive daytime sleepiness related to narcolepsy or hyposomnia.” Monroe v.
Colvin, 826 F.3d 176, 182 n.6 (4th Cir. 2016) (citing Sleep Education,
Multiple    Sleep     Latency    Test    (MSLT)—Overview        and    Facts,
http://www.sleepeducation.org/disease-detection/multiple-sleep-latency-test/
overview -and-facts).
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      Plaintiff returned to Dr. Drummond to discuss results of an overnight

sleep study and the MSLT on September 6, 2016. Tr. at 723. She complained

of difficulty maintaining wakefulness. Id. Dr. Drummond assessed idiopathic

hypersomnia based on the MSLT findings. Tr. at 726. He discussed other

tests that might provide a more definitive diagnosis, but informed Plaintiff

that their results would not change his management recommendations. Id.

He prescribed Modafinil and instructed Plaintiff not to drive or operate

dangerous equipment if she was sleepy. Id.

      Plaintiff presented to Derek J. Feussner, M.D. (“Dr. Feussner”), for a

gastroenterology consultation on November 4, 2016. Tr. at 719. She reported

B12 and iron deficiencies and complained of issues with food “running

through her,” such that she would have a bowel movement within an hour of

eating. Id. She complained of constipation and hemorrhoids since starting

B12 injections. Id. Dr. Feussner recorded normal findings on physical exam.

Tr. at 720. He ordered an esophagogastroduodenoscopy (“EGD”) with biopsies

of Plaintiff’s duodenum and stomach. Id.

      On January 11, 2017, Plaintiff presented to the physical therapy

department and requested a lumbar corset. Tr. at 714. She indicated she

needed support to carry her 20-month-old child up and down stairs. Id.

Physical therapist Rory Lynn Sarkees fitted Plaintiff with a small brace. Id.



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      Plaintiff also presented for a cardiology consultation for palpitations on

January 11, 2017. Tr. at 715. She endorsed a one-year history of palpitations

that occurred at random at both rest and activity and lasted for 10 to 30

seconds. Id. Nurse Practitioner Amber N. Ward (“NP Ward”) recorded normal

findings on physical exam and electrocardiogram (“EKG”). Tr. at 717. She

increased Propranolol to 120 mg, ordered a cardiac MRI, and referred

Plaintiff for an evaluation for supraventricular tachycardia (“SVT”). Id.

      On February 2, 2017, Plaintiff presented to Kimberly S. Bowers, M.D.

(“Dr. Bowers”), for a mental health consultation. Tr. at 706. She complained

of a persistent depressive disorder and worsening anxiety. Tr. at 707. She

indicated she felt anxious and uncomfortable around strangers and in public.

Id. She endorsed social anxiety, noting she did not want to disappoint others

and feared people were talking about her. Id. She described panic symptoms,

such as feeling shaky, short of breath, and as if the room were closing in. Id.

She reported irritability, verbal outbursts, and loss of interest in some

activities. Id. She stated her health issues, her son’s health issues, and her

finances caused increased stress. Id. Dr. Bowers observed Plaintiff to have an

anxious mood, to fidget with her hands, to have fair insight, and to otherwise

demonstrate normal mental status. Tr. at 711. She assessed generalized

anxiety disorder (“GAD”) with panic, social anxiety disorder, and unspecified

depression. Tr. at 712. She prescribed Buspirone 5 mg three times a day for

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anxiety. Id. She warned Plaintiff about a potential interaction with

Amitriptyline and contacted the neurology department to inform her provider

of her desire to discontinue Amitriptyline. Id. She recommended cognitive

behavioral therapy (“CBT”), but Plaintiff declined a referral. Id.

      Plaintiff presented to John Lacy Sturdivant, M.D. (“Dr. Sturdivant”),

for a cardiology consultation on February 17, 2017. Tr. at 704. She reported a

six-year history of intermittent palpitations associated with nausea,

presyncope, and diminished hearing. Id. She indicated her symptoms had

decreased from once or twice a day to two to three times per week since

starting Carvedilol. Id. She described episodes lasting from 30 seconds to two

minutes, and Dr. Sturdivant noted an event monitor had recovered short

runs of narrow complex SVT up to 15 beats at maximal heart rate of 150

beats per minute (“BPM”) in December 2016. Id. He recorded normal findings

on physical exam. Tr. at 705–06. He recommended Plaintiff wean off

Propranolol and start therapy with Verapamil. Tr. at 706. He indicated

Plaintiff could reinitiate Propranolol if Verapamil worsened her migraines or

failed to improve her symptoms and could consider adding Propafenone in the

future, if necessary. Id.

      On April 9, 2017, Plaintiff underwent an MRI of the lumbar spine that

showed a stable L5–S1 posterior annular fissure/tear and mild facet



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hypertrophy causing mild left lateral recess and mild left neural foraminal

narrowing at this level. Tr. at 747–48.

      Plaintiff     presented   to   nurse    practitioner   Holly   Gardner    (“NP

Gardner”),for a neurosurgery consultation on June 20, 2017. Tr. at 703. She

complained of worsening back and bilateral leg pain. Id. NP Gardner noted

full strength in Plaintiff’s bilateral lower extremities. Tr. at 704. She

explained to Plaintiff that she had an annular tear and recommended

nonoperative treatment. Id. She referred Plaintiff for injections to address

her pain. Id.

      Plaintiff received a Botox injection for migraine therapy on July 7,

2017. Tr. at 702.

      On July 10, 2017, Plaintiff presented to Dale R. Tabor, M.D., Ph. D.

(“Dr. Tabor”), for a pain consultation. Tr. at 698. She complained of bilateral

lower back pain with burning in her lower extremities. Id. She indicated her

sleep was sometimes interrupted by pain. Id. She stated she was a “stay at

home mom” and had stopped attending school because her pain prevented

her from concentrating. Id. She denied relief from Meloxicam. Id. Dr. Tabor

noted he had previously treated Plaintiff with injections in 2013 that had

provided minimal relief. Id. He recorded normal findings on physical exam,

aside from pain on moderate palpation over the lumbar spinous processes,

diminished deep tendon reflexes, 4/5 bilateral lower extremity strength, and

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limited flexion, extension, and lateral flexion of the lumbar spine. Tr. at 701.

He assessed lumbar spondylosis and advised Plaintiff of treatment options.

Id. He noted Plaintiff was “of highly anxious nature” and felt that her anxiety

“contribute[d] to her pain issues.” Id. He instructed Plaintiff to discontinue

Meloxicam and prescribed Diclofenac. Id. He noted Plaintiff had “very

unremarkable lumbar imaging and phys[ical] exam” and no progression from

a prior MRI in 2015. Id. He indicated Plaintiff’s rating of her pain as a three

was more consistent with discomfort than pain. Tr. at 701, 702.

       Plaintiff presented to Cristian M. Thomae (“Dr. Thomae”) for a

gynecological consultation on August 16, 2017. Tr. at 695. She complained of

dyspareunia, urinary frequency, painful urination, and inflammatory

changes on pap smear. Id. Dr. Thomae ordered lab studies and a pelvic

ultrasound and prescribed a ten-day course of Doxycycline 100 mg. Tr. at 697.

       On August 19, 2017, a pelvic ultrasound showed a hyperechoic

structure abutting the inferior aspect of the endometrium, measuring up to

2.1 cm with slightly increased flow that might represent a fibroid. Tr. at 744–

45.

       Plaintiff consulted with Faith Brown, Pharm. D. (“Dr. Brown”), as to

titration of Mirtazapine on August 30, 2017. Tr. at 691. She indicated she had

recently discontinued all medications, as she feared they might exacerbate

atrial tachycardia. Id. She reported having taken Mirtazapine for a month in

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2013 with no significant improvement. Tr. at 693. Dr. Brown indicated

Plaintiff should consider starting a low dose of Mirtazapine 7.5 mg and

titrating it to 15 mg. Id. She also noted Plaintiff should consider a trial of

Hydroxyzine for anxiety and sleep. Id. She recommended Plaintiff consider

augmenting her therapy with a selective serotonin reuptake inhibitor

(“SSRI”) and Quetiapine. Tr. at 694. She noted that Meloxicam should be

removed from Plaintiff’s medication list, as she had subsequently been

prescribed Diclofenac. Id.

      X-rays of Plaintiff’s right shoulder were normal on September 8, 2017.

Tr. at 744.

      Plaintiff followed up with Dr. Thomae on September 14, 2017. Tr. at

637. Dr. Thomae noted an ultrasound showed an intrauterine mass than

required additional imaging. Id. He indicated he would schedule Plaintiff for

saline infusion sonohysterography (“SIS”). Id.

      On October 10, 2017, Dr. Thomae performed SIS that confirmed the

presence of an endometrial polyp and dyspareunia. Tr. at 628. He planned to

schedule Plaintiff for a hysteroscopy polypectomy and laparoscopy. Id.

      Plaintiff presented to nurse practitioner Stephen Lesieur (“NP

Lesieur”) as a new mental health patient on October 12, 2017. Tr. at 624. She

endorsed a history of depression, anxiety, weight loss, insomnia, depressed

mood, stress-induced anorexia, anhedonia, dyspareunia, and suspicion of

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others in her home. Id. She indicated she felt as if her memory was “not

working right.” Id. She described an unsupportive home environment. Id. NP

Lesieur recommended ways to decrease stress and suggested therapy, but

Plaintiff was reluctant to participate, as she would have to arrange childcare.

Id. She rated her mood as a five and indicated she slept for four to five hours

per night. Tr. at 625. NP Lesieur noted Plaintiff was alert and oriented times

four; in no apparent distress; had normal gross and fine motor movements;

had blunted affect with constricted range and congruent mood; reported

stable, depressed mood; had preoccupied thoughts; showed no evidence of

hallucinations, delusions, depersonalization, derealization, or perceptual

disturbances; had fair concentration; had somewhat diminished short- and

long-term memory based on interview; had good attention to hygiene;

demonstrated normal speech; had fair eye contact; had a cooperative attitude;

demonstrated normal intelligence and cognition; had good insight and

judgment; and denied suicidal and homicidal thoughts. Tr. at 626. He

suggested a referral for chronic fatigue and instructed Plaintiff to continue

her mental health medications. Tr. at 627.

      Plaintiff presented for a sleep apnea consultation on October 31, 2017.

Tr. at 605. She endorsed excessive daytime sleepiness, despite sleeping for

the full night. Id. She indicated she was no longer taking Provigil because she

had developed SVT in response to it. Id. She complained of increased daytime

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sleepiness and denied palpitations and heart racing. Id. Dr. Drummond

assessed hypersomnia with increased daytime symptoms. Tr. at 610. He

recommended a lower dose of Provigil 100 mg, as Plaintiff had been off the

medication for several years and had not experienced palpitations or heart

racing over that period. Id.

      On November 7, 2017, Plaintiff reported she “threw her back out again

while picking up her 30 pound son and after lifting a case of water.” Tr. at

600. She described pain in her lower back that radiated to her buttocks and

down both sides of her leg. Id. Rhonda Lucas, R.N., observed Plaintiff to

ambulate to the triage room with a slight limp. Id. She discussed the matter

with Plaintiff’s primary care physician Suzann H. Weathers, M.D. (“Dr.

Weathers”), who instructed Plaintiff to continue to take Diclofenac and

Cyclobenzaprine as prescribed, apply heat to her back, rest, and avoid lifting

for two weeks. Id.

      On November 8, 2017, Dr. Thomae performed laparoscopic excision of

endometriosis hysteroscopy dilation and curettage. Tr. at 643–48. He

discharged Plaintiff with instructions to avoid lifting greater than 15 pounds

for two weeks, pelvic rest for two weeks, and no driving while taking narcotic

pain medication. Tr. at 577.




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      On November 14, 2017, Plaintiff rated her mood as a four and indicated

she was sleeping for four to five hours per night, 4 had financial struggles, and

was feeling more anxious. Tr. at 569. She denied taking Topiramate due to

tingling in her feet and weight gain and Oxycodone due to nausea. Id. NP

Lesieur noted normal findings on mental status exam (“MSE”), aside from

blunted affect with constricted range and congruent mood, preoccupied

thoughts, fair concentration, somewhat diminished short- and long-term

memory based on interview, and fair eye contact. Tr. at 571–72. Plaintiff

requested to discontinue Buspirone, as she found it ineffective. Tr. at 572. NP

Lesieur instructed Plaintiff to continue her other medications. Id.

      Plaintiff presented to Alison W. Martin, Pharm. D. (“Dr. Martin”), with

concerns over side effects from Topiramate on December 14, 2017. Tr. at 560.

She complained of tingling and itchiness on the bottom of her feet, mental

fogginess, increased pressure in her knee joints, and increased difficulty

interacting with others. Id. She reported the symptoms had resolved when

she stopped Topiramate, returned when she restarted it, and resolved when

she discontinued it a second time. Id. She indicated she was treating her

headaches and migraines with Sumatriptan 50 mg as needed, magnesium

500 mg daily, Diclofenac 40 mg twice a day, and three Advil migraine tablets


4 The same note also indicates Plaintiff had recently started Modafinil, was
sleeping seven to eight hours, and did not take naps. See Tr. at 569.
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daily. Tr. at 561. Dr. Martin expressed concern over Plaintiff’s overutilization

of abortive treatment and her use of two nonsteroidal anti-inflammatory

drugs (“NSAIDs”). Tr. at 563. She encouraged Plaintiff to discontinue use of

Advil and to reduced Sumatriptan to two to three times a week to reduce the

risk of medication overuse/rebound headaches. Id. She indicated Plaintiff

might benefit from Zonisamide for headache prevention, and Plaintiff agreed

to proceed with a trial. Id. She instructed Plaintiff to start Zonisamide 25 mg

at night for two weeks and to titrate up to 50 mg at night, if tolerated. Id.

      Plaintiff also followed up with NP Lesieur on December 14, 2017. Tr. at

564. She rated her mood as a three. Id. She indicated Modafinil helped with

energy such that she was sleeping seven to eight hours and did not take naps.

Id. NP Lesieur observed Plaintiff to have a blunted affect with constricted

range and congruent mood, preoccupied thoughts, fair concentration,

diminished memory, fair eye contact, and otherwise normal mental status.

Tr. at 566–67. He prescribed Pramipexole 1.125 mg nightly for restless leg

syndrome, Ducusate 100 mg daily, and Mirtazapine 22.5 mg. Tr. at 567.

      Plaintiff followed up in the neurology clinic for headaches on January

12, 2018. Tr. at 546. She reported unchanged frequency of headaches and

symptoms and indicated she had not yet titrated up her dose of Zonisamide.

Tr. at 547. She reported taking Advil migraine, Tylenol, and Sumatriptan. Id.

Shaun B. Ajinkya, M.D. (“Dr. Ajinkya”), recorded normal findings on physical

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exam. Tr. at 551. He refilled Sumatriptan, instructed Plaintiff to take

Zonisamide 50 mg at bedtime, referred her for CBT, and indicated she could

try chocolate containing more than 70% Cacao. Tr. at 552.

      On January 18, 2018, Dr. Thomae noted Plaintiff continued to

experience dyspareunia, despite use of an NSAID. Tr. at 545. He indicated a

plan to treat Plaintiff with Zoladex injections for six months, but noted that if

it was unsuccessful, he would proceed with laparoscopic-assisted vaginal

hysterectomy (“LAVH”). Id.

      On January 23, 2018, Plaintiff rated her mood as a four and indicated

she was sleeping seven to eight hours and not taking naps. Tr. at 537. NP

Lesieur observed Plaintiff to have blunted affect with constricted range and

congruent mood, preoccupied thoughts, somewhat diminished memory, fair

concentration and eye contact, and otherwise normal mental status findings.

Tr. at 539.

      Plaintiff presented to Dr. Feussner for gastroenterology follow up on

February 1, 2018. Tr. at 534. She reported occasional diarrhea and associated

lower abdominal cramping with Miralax. Id. She complained of some

difficulty with complete defecation. Id. Dr. Feussner recorded normal findings

on exam. Tr. at 535–36. He referred Plaintiff to the Medical University of

South Carolina for ano-rectal manometry and suspected it would show

dyssynergic defecation for which she would need to meet with a physical

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therapist for biofeedback therapy. Tr. at 536. He instructed Plaintiff to

continue Ducosate. Id.

      On February 6, 2018, Navdeep K. Dhaliwal, M.D. (“Dr. Dhaliwal”),

completed a disability benefits questionnaire as a follow up to a compensation

and pension (“C&P”) exam. Tr. at 518. He noted Plaintiff had a mental

diagnosis of major depressive disorder (“MDD”) and medical diagnoses that

included iron-deficiency anemia, vitamin B12 deficiency, atrial tachycardia,

migraines, endometriosis, and chronic hypertension. Id. He indicated

Plaintiff had occupational and social impairment with reduced reliability and

productivity. Tr. at 519. He reviewed NP Lesieur’s January 29 treatment

note, as well as other mental health treatment records. Tr. at 519–23, 526.

During an interview, Plaintiff reported living with her fiancée, their three-

year-old son, and her fiancée’s mother and father. Tr. at 523. She denied

working and indicated she provided full-time care to her son. Id. She stated

she stayed home most of the time and had no social contacts outside of her

household. Id. She reported having a driver’s license and driving without

difficulty. Id. She endorsed abilities to perform activities of daily living

(“ADLs”) independently and to manage finances. Id. Plaintiff reported

depressed mood, low energy, anhedonia, amotivation, and said she would not

get out of bed if it were not for her son. Tr. at 524. She endorsed feeling tense

and on edge, having panic attacks at least once a week, fearing others were

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talking about her, being hypervigilant, having an irritable mood, having

angry verbal outbursts with her fiancée and his mother, and having

paranoia. Id. Dr. Dhaliwal noted Plaintiff’s symptoms included: depressed

mood; anxiety; suspiciousness; panic attacks more than once a week; chronic

sleep impairment; flattened affect; disturbances of motivation and mood;

difficulty in establishing and maintaining effective work and social

relationships; difficulty in adapting to stressful circumstances, including

work or a work-like setting; and inability to establish and maintain effective

relationships. Id. He recorded normal findings on MSE, aside from blunted

affect. Tr. at 525. Plaintiff obtained a score of 21 on the patient health

questionnaire 9 (“PHQ-9”), suggesting severe depression. Id.

      Nurse Practitioner Kristy C. Anderson (“NP Anderson”) also completed

a headache disability benefits questionnaire in conjunction with a C&P exam

on February 6, 2018. Tr. at 527. She noted Plaintiff had been diagnosed with

migraine, including migraine variants. Tr. at 528. She noted Plaintiff

endorsed daily headaches and migraines occurring three to four times a week

that were accompanied by nausea, intermittent vomiting, and sensitivity to

light and sound. Id. She indicated Plaintiff took Sumatriptan and Advil and

had previously tried Elavil, magnesium, Valproate, Verapamil, and

Propranolol. Id. She stated Plaintiff had undergone a computed tomography

(“CT”) scan and an MRI of the brain in 2016 that showed no acute

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abnormalities. Tr. at 529. NP Anderson checked “[n]o” in response to a

question as to whether Plaintiff’s headache condition impacted her ability to

work. Id. She noted normal exam findings. Id.

     Plaintiff presented to nurse practitioner Marcelaine Haire (“NP Haire”)

for an initial pain management visit on February 9, 2018. Tr. at 515. She

endorsed chronic daily headaches, migraines three to four times a week, low

back pain since 2011, pelvic pain over the prior six to eight months with

recently-diagnosed endometriosis, depression, and anxiety. Id. She indicated

she had attempted exercise, but it aggravated her back. Id. She noted she had

been approved for aqua therapy, but had not attended. Id. She indicated she

woke in the morning feeling exhausted and had recently started Provigil. Id.

She rated her pain as a five and noted it was usually a three. Id. NP Haire

noted: tenderness to palpation to the lower paraspinal muscles; ambulates

without difficulty; full lumbar ROM with some discomfort at end of ROM in

flexion; euthymic mood and appropriate affect; and no neurological deficits on

gross exam. Tr. at 516. Her impressions were chronic back pain,

hypersomnolence, depression/anxiety, endometriosis, migraine headaches,

and vitamin D deficiency. Id. She prescribed Theracane and instructed

Plaintiff to stretch and walk 15 to 20 minutes daily and decrease her dietary

sugar and processed carbohydrate consumption. Tr. at 517.



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       On February 28, 2018, NP Lesieur recorded findings on MSE that were

comparable to his prior exams. Tr. at 507. Plaintiff scored 23 points on a

PHQ-9 screening, which was consistent with severe depression. Tr. at 508.

NP     Lesieur      instructed   Plaintiff        to   continue    supportive    therapy,

psychopharmacology, and case management services. Id.

       On March 20, 2018, Plaintiff reported Provigil 100 mg had been

ineffective. Tr. at 493. She endorsed ongoing difficulty with hypersomnia and

episodes of intrusive sleep. Id. Dr. Drummond assessed idiopathic

hypersomnia with daily symptoms of hypersomnia and intrusive sleep. Tr. at

497. He prescribed Armodafinil 250 mg and instructed Plaintiff to follow up

in six months. Id.

       Dr. Drummond wrote a letter addressing Plaintiff’s idiopathic

hypersomnia on April 13, 2018. Tr. at 491–92. He stated Plaintiff experienced

intrusive sleep daily. Tr. at 492. He noted Plaintiff had undergone an

overnight sleep test in 2011 that showed a short sleep latency, short REM

latency, and high sleep efficiency. Id. He stated Plaintiff subsequently

underwent MSLT in 2016 that confirmed a severe degree of objective

hypersomnia with a mean sleep latency of 4.1 minutes. Id. He indicated

Plaintiff had “intrusive sleep events at least once a day and ‘never had a day

without it.’” Id.



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      Plaintiff followed up with NP Haire for pain reassessment on March 30,

2018. Tr. at 486. She reported chronic headaches and pelvic pain remained

about the same, but bilateral knee pain had worsened due to increased stair

climbing. Id. She indicated she had discontinued Theracane after having used

it for a few weeks without improvement. Id. NP Haire noted Plaintiff had full

ROM of the knees, was grossly neurologically intact, ambulated without

difficulty, and was tender to palpation in her lower paraspinal muscles. Tr. at

489. She advised Plaintiff to restart Theracane, stretch daily, walk for 15 to

20 minutes, and decrease dietary sugar and processed carbohydrates. Id. She

noted Plaintiff did not desire to participate in physical or aquatic therapy. Id.

      On April 5, 2018, NP Lesieur processed with Plaintiff that

endometriosis might account for many of her symptoms. Tr. at 481. Plaintiff

indicated she was sleeping for seven to eight hours and was not taking naps.

Tr. at 481–82. She complained of increased stress and conflicts in the home.

Tr. at 482. She said she felt anxiety related to her son’s medical problems and

was reluctant to leave him with her fiancée’s mother for long, even though

she trusted her. Id. NP Lesieur discussed a possible diagnosis of borderline

personality disorder, as Plaintiff endorsed most symptoms, aside from

dissociative symptoms. Id. He noted Plaintiff had recently discontinued

Buspirone with no noticeable change in anxiety and had been taking

Mirtazapine 45 mg instead of 22.5 mg, as prescribed. Id. Plaintiff agreed to

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add Duloxetine 20 mg daily for mood and pain. Id. She indicated she had

recently started Modafinil, which helped with energy. Id. NP Lesieur

recommended Plaintiff consider referrals for chronic fatigue and individual

therapy to address catastrophizing. Id. He recorded normal findings on MSE,

aside from blunted affect with constricted range and congruent mood,

preoccupied thoughts, fair concentration and eye contact, and somewhat

diminished memory. Tr. at 484.

      Plaintiff presented to neurologist Adam Greenblatt (“Dr. Greenblatt”)

on April 26, 2018. Tr. at 472. She denied side effects from Zonegran 50 mg,

but endorsed no clinical benefit. Id. She described sharp pain in her right

temple that eventually wrapped around her head, lasted two to six hours,

and was associated with nausea, vomiting, and sensitivity to smell, taste,

light, and sound. Id. She indicated she experienced migraines three to four

times a week and used Sumatriptan two to three times a week to prevent

vomiting. Id. She endorsed chronic daily headaches she rated as a two to four

on the pain scale and indicated her migraines were superimposed on the

headaches. Id. She stated she slept for seven to 10 hours at night, but

continued to feel sleepy. Tr. at 473. She reported anxiety and depression. Id.

Dr. Greenblatt recorded normal findings on exam. Tr. at 477. He stopped

Zonegran and prescribed Riboflavin 200 mg twice a day. Tr. at 477–78. He



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referred Plaintiff to mental health for CBT to combat chronic medically-

refractory pain. Tr. at 478.

      Plaintiff returned to Dr. Thomae for pelvic pain on May 8, 2018. Tr. at

459. Dr. Thomae stated Plaintiff continued to experience dyspareunia and

neither Provera nor Zoladex had resolved her pain. Id. He noted Plaintiff was

scheduled for LAVH with bilateral salpingectomy and recommended leaving

her ovaries if they did not show evidence of endometriosis. Id.

      Also on May 8, 2018, Plaintiff complained that many of her medical

providers were dismissive or acted as if she were exaggerating her symptoms.

Id. She indicated she was sleeping for seven to eight hours at night and

denied taking naps during the day. Id. NP Lesieur recorded MSE findings

consistent with prior exams. Tr. at 457–58. He advised Plaintiff to continue

her medications and to consider a referral for chronic fatigue. Tr. at 458.

      Plaintiff also followed up with Dr. Drummond on May 8, 2018. Tr. at

450. She reported being under a lot of stress and feeling uncertain as to

whether Armodafinil was helpful, as she remained symptomatic and was not

sleeping well. Id. She denied side effects. Id. Dr. Drummond instructed

Plaintiff to continue Armodafinil and to return in a year, unless she had

problems. Tr. at 454.

      Plaintiff returned to Dr. Feussner for gastroenterology follow up on

May 24, 2018. Tr. at 447. She endorsed constipation and indicated she was

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having one bowel movement per day with use of a stool softener. Id. She

endorsed a sudden need to defecate without warning, which Dr. Feussner

noted to be verified by her grossly abnormal anorectal manometry study that

showed a high urge to defecate sensory threshold. Tr. at 448. She noted

abdominal pain that was likely related to endometriosis, as she had received

modest benefit from hormone injection therapy and was scheduled to undergo

hysterectomy. Id. Dr. Feussner suspected Plaintiff had slow transit

constipation in a setting of high urge to defecate sensory threshold. Tr. at

449. He instructed Plaintiff to continue Ducosate and to proceed with

hysterectomy. Id.

      Plaintiff underwent LAVH and bilateral salpingectomy on May 30,

2018. Tr. at 638–40.

      On June 12, 2018, Plaintiff presented to NP Lesieur for mental health

follow up. Tr. at 411. NP Lesieur stated Plaintiff had adjusted well following

hysterectomy. Id. He noted MSE findings that were consistent with prior

exams. Tr. at 414. Plaintiff’s score of 20 on the PHQ-9 screen suggested

severe depression. Tr. at 414–15.

      Plaintiff presented to Dr. Weathers for primary care follow up on July

11, 2018. Tr. at 402. She reported migraines that occurred twice a week,

chronic low back pain, and anxiety. Id. She noted she was taking a stimulant

for idiopathic hypersomnia. Id. She complained of daily episodes of chest

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tightness and heart racing. Id. She endorsed constipation and cramping

associated with gastrointestinal problems. Id. Dr. Weathers recorded normal

findings on exam. Tr. at 404. She assessed chronic headaches, idiopathic

hypersomnia,    atrial   tachycardia/palpitations,   chronic     low   back   pain,

constipation/diarrhea, vitamin deficiencies, iron deficiency, and anxiety. Id.

She prescribed vitamin D and ordered two additional months of iron

infusions. Id. She wrote the following:

      I reviewed her chart, specialist rec[ord]s, and all of the
      medication changes she had had this past year. I am not
      surprised she feels exhausted and as poorly as she does. She has
      been through more medication changes/adjustments than I can
      keep up with and has been on either ocp/depo/zoladex for a year
      and then had a hysterectomy. I explained that her body has been
      through a lot of hormonal, medical, and chemical changes and
      needs time to adjust. I asked her to please try to limit medication
      changes to a minimum over the next few months to allow her
      body to reach some sort of homeostasis.

Tr. at 405.

      On July 17, 2018, Plaintiff reported many of her symptoms had

improved. Tr. at 396. NP Lesieur noted normal findings on MSE, aside from

blunted and constricted mood and affect, preoccupied thoughts, fair eye

contact and concentration, somewhat diminished recent and remote memory,

and depressed, but stable mood. Tr. at 399. Plaintiff agreed to continue her

medications and to additional titration of Duloxetine. Id.




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     Plaintiff presented to Sallie M. McSwain, M.D. (“Dr. McSwain”), for a

post-operative visit on July 26, 2018. Tr. at 392. She reported she had been

doing well and her chronic pelvic pain had improved. Id. She denied bowel

problems and indicated only mild urinary frequency. Id. She noted she was

“ambulating and chasing [her] child without issues.” Id. Dr. McSwain

indicated Plaintiff’s incisions were healing well and her abdomen was soft,

non-tender, and non-distended. Tr. at 393. She released Plaintiff to return to

primary care and indicated it was okay for her to resume normal activities

and work. Tr. at 394.

      Plaintiff presented to Dr. Greenblatt for migraine follow up on July 27,

2018. Tr. at 383. She described migraines that occurred three to four times a

week, lasted two to four hours, and were associated with nausea and

vomiting. Id. She noted she tried to sleep through her migraines. Id. She

stated her headaches had been about the same since reducing Zonisamide

from 100 to 50 mg. Id. She reported taking Sumatriptan nine times per

month and indicated it was effective, but “knock[ed her] out.” Tr. at 384. She

noted she had been unable to take B12 or to care for her own needs and

acquire sufficient sleep at times due to providing care for her son. Id. Dr.

Greenblatt recorded normal findings on exam. Tr. at 389. He stopped

Zonisamide due to limited efficacy, continued Riboflavin 200 mg twice a day



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and magnesium oxide 420 mg daily, and recommended a trial of Enzyme

CoQ10 100 mg three times a day. Id.

      On August 10, 2018, a cardiac event monitor report showed mostly

sinus rhythm with heart rate ranging from 52 to 185 BPM and averaging 89

BPM. Tr. at 381. Plaintiff experienced one event of SVT, isolated

ectopy/premature ventricular contractions (“PVCs”), and 11 patient-triggered

events correlated with sinus rhythm, sinus tachycardia, and isolated ectopy

over the monitoring period of six days, 19 hours. Id.

      Plaintiff presented to Dr. Payne for cardiology follow up on August 21,

2018. Tr. at 361. She complained of palpitations, and an event monitor had

confirmed SVT. Id. She endorsed a daily sensation of racing heart and feeling

as if she had just finished running. Id. She indicated the events could last for

one to ten minutes. Id. She endorsed occasional chest tightness. Id. She

described an episode of pre-syncope seven months prior when her vision

“went dark,” she felt dazed, and sustained a fall. Id. Dr. Payne recorded

normal findings on exam. Tr. at 364–65. He recommended low-dose Atenolol

for symptomatic SVT. Tr. at 365.

      On August 22, 2018, Plaintiff endorsed increased stress and chaos in

her household. Tr. at 357. NP Lesieur noted normal findings on MSE, aside

from blunted and constricted mood and affect, preoccupied thoughts, fair

concentration and eye contact, somewhat diminished short- and long-term

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memory, and depressed, but stable mood. Tr. at 359. Plaintiff agreed to

additional titration of Duloxetine. Tr. at 360.

      Plaintiff presented to Layne A. Goble, Ph. D. (“Dr. Goble”), for a pain

psychosocial assessment on September 17, 2018. Tr. at 346. She reported a

long history of migraine headaches that had become more frequent over the

prior three years. Tr. at 347. She endorsed constant head pain and three to

four migraines per week, lasting two to three hours at a time. Id. She

complained of pain in her pelvis, bilateral knees, upper thoracic spine, and

low back radiating to her right leg. Id. She also had a history of

endometriosis,   lumbar     spondylosis,     vitamin   D   deficiency,    idiopathic

hypersomnia, anemia, SVT, amenorrhea, hearing loss, elevated blood

pressure, MDD, and undefined anxiety disorder. Id. Dr. Goble observed pain

behaviors that included slower gait and shifting in her seat at times. Id.

Plaintiff rated her current pain as a four, indicating it ranged from a three to

a seven. Id. She denied relief from pain treatment or medication over the

prior 24-hour period. Id. On a brief pain index, Plaintiff indicated high levels

of pain interference with general activity, mood, walking ability, normal

work, relations with people, and enjoyment of life and a moderate level of

pain interference with sleep. Id. She described her pain as throbbing,

shooting, stabbing, sharp, cramping, aching, and splitting. Id. She described

associated   emotions     as    tiring/exhausting,     sickening,     fearful,   and

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punishing/cruel. Id. She noted her headaches were associated with dizziness,

nausea, and passing out. Id. She described muscles clenching in her chest

and a vibration sensation in her right foot over the prior week. Id. Plaintiff

reported being able to fall asleep and stay asleep, but noted chronic fatigue

and hypersomnia throughout the day, despite taking Nuvigil. Tr. at 348. She

denied taking daytime naps, as she had to care for her son. Id. She endorsed

difficulty bending forward and backward, twisting and turning from side-to-

side, picking up heavier objects, and using stairs. Id. She indicated she

experienced some conflict with her fiancée and his mother, with whom they

lived. Id. She said she had few friends in the area and felt impatient with

others, irritable, sad/depressed, and anxious. Id. She endorsed difficulty with

concentration due to poor sleep and discomfort. Id.

      Dr. Goble recorded normal findings on MSE, aside from “irritable”

mood, depressed affect, somatically-focused thought content, and fair

judgment and insight. Tr. at 349–50. His clinical impressions were somatic

symptoms disorder, predominantly pain, persistent; MDD, recurrent;

hypersomnolence disorder; rule out posttraumatic stress disorder (“PTSD”);

and rule out panic disorder. Tr. at 350. Plaintiff expressed interest in re-

engaging evidence-based treatment, but indicated it would be difficult for her

to find childcare. Id. She planned to follow up for CBT. Id.



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       Plaintiff followed up with NP Lesieur on October 18, 2018. Tr. at 336.

She described her mood as depressed, but stable. Tr. at 339. NP Lesieur

noted mostly normal findings on MSE, except that Plaintiff had blunted and

restricted mood and affect, preoccupied thoughts, fair concentration and eye

contact, and somewhat diminished short- and long-term memory. Id. Plaintiff

declined an addition of Gabapentin for neuropathic pain, noting she had

previously experienced severe nausea when she restarted it. Tr. at 340.

       On November 28, 2018, NP Lesieur noted normal findings on MSE,

aside from blunted and constricted mood and affect, preoccupied thoughts,

fair concentration, somewhat diminished short- and long-term memory, and

depressed, but stable mood. Tr. at 326. He indicated Plaintiff should consider

a trial of Pregabalin for pain. Id.

       The interdisciplinary pain team discharged Plaintiff on November 30,

2018, after she had failed to attend a recently-scheduled appointment. Tr. at

322.

       Plaintiff presented to Matthew Rolfsen, M.D. (“Dr. Rolfsen”), for

gastroenterology follow up on January 17, 2019. Tr. at 305. She reported

little change in her abdominal pain since her hysterectomy. Id. She described

intermittent, crampy abdominal pain associated with bowel movements. Id.

She indicated she often alternated between constipation and diarrhea. Id.

She reported her symptoms were worsened by anxiety, but that she had

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learned to live with them. Id. Dr. Rolfsen recorded normal findings on exam.

Tr. at 307. He recommended Plaintiff use IBGuard for irritable bowel

syndrome (“IBS”) symptoms, increase her water intake and exercise

frequently to improve regularity, and consider a squatty potty. Tr. at 308.

      On January 22, 2019, NP Lesieur recorded finding on MSE consistent

with prior exams. Tr. at 304. He assessed MDD and advised Plaintiff to

continue supportive therapy, psychopharmacology, and case management

services. Id.

      Plaintiff visited Dr. Greenblatt for neurology follow up on January 25,

2019. Tr. at 291. She reported she had undergone a pain clinic assessment

and had begun CBT, but was unable to follow up due to her need to care for

her son, who had an immune disorder and required constant treatment. Id.

She described her headaches as about the same in intensity and frequency,

with daily headaches and migraines three to four times a week. Id. She

reported sleeping for 10 hours per night, but feeling defeated. Id. She said she

had minimal support with her son, as she rarely saw her mother-in-law and

her husband worked a laborious job from 8:00 AM to 5:00 PM. Id. Dr.

Greenblatt noted Plaintiff had failed Topirimate and had not had time to

titrate Zonisamide to 50 mg. Tr. at 292. He stated Plaintiff was taking

Sumatriptan two to three times a week. Id. He noted Plaintiff’s migraines

were superimposed on chronic daily headaches that never fully remitted. Id.

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Dr. Greenblatt noted normal findings on exam. Tr. at 297. He stated Plaintiff

had not been consistent with her medications or ambulatory pain

management due to psychosocial barriers. Id. He instructed Plaintiff to

resume Riboflavin 200 mg twice a day, Enzyme CoQ10 100 mg three times a

day, and magnesium oxide 420 mg daily and referred her to neurology

pharmacology for Aimovig injections. Tr. at 297–98.

      Plaintiff presented to Scott Matthew Koerber, M.D. (“Dr. Koerber”), for

cardiology follow up on February 19, 2019. Tr. at 795. She reported daily

episodes of sudden onset palpitations, fatigue, and shortness of breath that

occasionally ended in syncope. Id. Dr. Koerber noted Plaintiff had worn a Zio

patch that revealed multiple episodes of short non-sustained SVT. Id. He

instructed Plaintiff to stop Atenolol and to increase her salt and water intake

and scheduled for her to follow up for an intracardiac electrophysiology study

(“EPS”). Tr. at 802.

      On March 5, 2019, NP Lesieur helped Plaintiff to process anxiety

related to a possible need for ablation surgery for SVT. Tr. at 787. His

findings on MSE were consistent with prior exams. Tr. at 793.

      Plaintiff complained of back pain on March 15, 2019. Tr. at 1347. She

indicated she had developed a pulling pain in her right lower back while

doing dishes the prior night. Id. She described the pain as shooting down her

right buttock and outside leg to her right knee and foot upon bearing weight.

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Id. Dr. Weathers observed Plaintiff to be limping, to have pain on palpation

to the right side of her lower lumbar spine, to have pain down to her right

knee with straight-leg raising (“SLR”) test, and to demonstrate 3+ bilateral

patellar deep tendon reflexes. Tr. at 1351. She prescribed a steroid taper and

muscle relaxer, ordered an updated MRI, referred Plaintiff to physical

therapy, and instructed her to use gentle stretching, ice, and heat. Tr. at

1352.

        On March 25, 2019, an MRI of Plaintiff’s lumbar spine redemonstrated

an L5–S1 annular fissure of the disc, with resultant central and left

paracentral disc protrusion, mildly effacing the left lateral recess and

contacting the left S1 transiting nerve root. Tr. at 884. It also showed stable,

mild-to-moderate left neural foraminal narrowing. Id.

        Plaintiff returned to Taylor Vanderpool, Pharm. D. (“Dr. Vanderpool”),

for neurology pharmacotherapy on March 27, 2019. Tr. at 1335. She reported

slight improvement in her daily headaches, but no improvement to her

migraines, after having received two Aimovig injections. Tr. at 1336. She

endorsed increased constipation and hard stools, but admitted she had not

been taking Ducosate. Id. She described migraines that occurred three to four

times a week, lasted two to 12 hours, and were a 10 in severity. Tr. at 1337.

Dr. Vanderpool recommended Plaintiff restart Ducosate and continue the 12-

week trial of Aimovig. Tr. at 1340.

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      Plaintiff presented to physical therapist Jennifer Brodbeck (“PT

Brodbeck”) for a physical therapy consultation on April 8, 2019. Tr. at 883.

She complained of lower back pain that radiated to her lower extremities. Id.

PT Brodbeck noted minimal limitation to ROM of Plaintiff’s lumbar spine, 4/5

bilateral ankle dorsiflexion, 4-/5 bilateral quad strength, 4-/5 bilateral

hamstring strength, and 4/5 hip flexion. Tr. at 883–84. She requested

Plaintiff be fitted for a back brace. Tr. at 969.

      On April 9, 2019, state agency psychological consultant Kathleen

Broughan, Ph.D. (“Dr. Broughan”), reviewed the record and completed a

psychiatric review technique. Tr. at 88–89. She considered the following

Listings: 12.04 for depressive, bipolar, and related disorders; 12.06 for

anxiety and obsessive-compulsive disorders; and 12.07 for somatic symptom

and related disorders. Id. She assessed no limitation in ability to adapt or

manage oneself; mild limitation in ability to understand, remember, or apply

information; and moderate limitation in ability to interact with others and

ability to concentrate, persist, or maintain pace. Id. Dr. Broughan

subsequently completed a mental residual functional capacity (“RFC”)

assessment in which she considered Plaintiff to be moderately limited as to

the following abilities: to maintain attention and concentration for extended

periods; to work in coordination with or in proximity to others without being

distracted by them; to complete a normal workday and workweek without

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interruptions from psychologically-based symptoms and to perform at a

consistent pace without an unreasonable number and length of rest periods;

to interact appropriately with the general public; to accept instructions and

respond appropriately to criticism from supervisors; and to get along with

coworkers without distracting them or exhibiting behavioral extremes. Tr. at

94–96. She concluded Plaintiff’s impairments were severe, but would not

preclude simple, repetitive work tasks in a setting that did not require

ongoing interaction with the public. Tr. at 89. She wrote:

      1.     The claimant is able to understand and remember simple
             instructions but could not understand and remember
             detailed instructions.
      2.     The claimant is able to carry out short and simple
             instructions but not detailed instructions. The claimant is
             able to maintain concentration and attention for periods of
             at least 2 hours.
      3.     The claimant would perform best in situations that do not
             require on-going interaction with the public.
      4.     The claimant would be expected to have difficulty working
             in close proximity or coordination with co-workers.
      5.     The claimant is able to be aware of normal hazards and can
             take appropriate precautions.

Tr. at 96.

      Plaintiff presented to NP Lesieur for routine mental health follow up

on April 23, 2019. Tr. at 1318. NP Lesieur’s MSE findings were consistent

with those on prior exams. Tr. at 1325.

      On April 24, 2019, Plaintiff presented to Adebola Rojugbokan, M.D.

(“Dr. Rojugbokan”), for a comprehensive consultative orthopedic examination.

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Tr. at 828–33. She endorsed intermittent, sharp lower back pain that she

rated as a four. Tr. at 830. She indicated her pain was worsened by

movement, twisting, and lifting. Id. She related a medical history of migraine

headaches, idiopathic hypersomnia, inflammatory bowel disease, tachycardia,

chronic anxiety, and depression. Id. Dr. Rojugbokan recorded normal findings

as to Plaintiff’s vital signs, hearing, vision, neck, cardiovascular system,

lungs, abdomen, extremities, cervical spine, shoulders, elbows, wrists, knees,

hips, ankles, and hands. Tr. at 831–33. He noted Plaintiff had tenderness to

palpation of the lumbar spine, diminished muscular strength because of pain,

and reduced ROM with flexion to 85/90 degrees, extension to less than 5/25

degrees, and lateral flexion to less than 5/25 degrees. Tr. at 832. He otherwise

noted no increased heat, redness, audible or palpable crepitus, malalignment,

muscular atrophy, subcutaneous nodule, or skin changes to the lumbar spine.

Id. He indicated Plaintiff had negative SLR test. Tr. at 833. He described

Plaintiff as having a short gait, not shuffling the legs, and generally limping

when she ambulated. Id. He stated Plaintiff was unable to squat, but could

perform tandem, heel, and toe walking. Id. He recorded 5/5 upper and lower

extremity strength. Id. He noted 2+ pulses and 2+ reflexes in Plaintiff’s upper

and lower extremities. Id. He assessed lower back pain, major depression,

and chronic anxiety. Id. He stated Plaintiff was capable of seeing, hearing,

reasoning, and managing her own funds. Id. X-rays showed mild facet

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arthropathy of Plaintiff’s lower lumbar spine, subtle levoconvex curve to the

lumbar spine, and no acute fracture line. Tr. at 824. Plaintiff’s right iliac

crest was slightly higher than her left and partially seen, suggesting

positioning versus subtle leg-length discrepancy. Tr. at 825.

      Plaintiff presented to Karen Quach, Pharm. D. (“Dr. Quach”), for

neurology pharmacology follow up on May 8, 2019. Tr. at 873. She indicated

her symptoms had remained unchanged since starting Erenumab therapy.

Tr. at 874. She described throbbing headaches starting at the right temple

and wrapping around and indicated they were accompanied by nausea,

photophobia, phonophobia, and vomiting at least once a week. Id. She said

she experienced the headaches two to four times a week and they lasted two

to 12 hours. Id. She complained that Erenumab continued to cause

constipation, despite use of Ducosate. Tr. at 881. Dr. Quach added Senna for

constipation. Id. She instructed Plaintiff to return in three weeks, following

her fourth dose of Erenumab, to discuss constipation issues and possible

titration. Tr. at 881–82. She noted she would consider transitioning Plaintiff

to Galcanezumab if she continued to have constipation or to fail to respond to

Erenumab. Tr. at 882.

      Plaintiff indicated Nuvigil was not working well on May 14, 2019. Tr.

at 867. She stated she had significant daytime sleepiness such that she could

dose off upon sitting still for a short period. Id. She denied difficulty sleeping.

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Id. Dr. Drummond noted Plaintiff had SVT in the past, but no

tachyarrhythmias in several years and no problems with Nuvigil. Tr. at 873.

He prescribed a low dose of Methylphenidate XR. Id.

      Plaintiff attended physical therapy sessions on May 14 and 20. Tr. at

864–66. She generally denied relief from physical therapy. See id. During the

May 20, 2019 physical therapy visit, physical therapist Suzanne Wilson (“PT

Wilson”) noted Plaintiff was “seen amb[ulating] in hall at fast pace without

noted gait deviations; by the time p[atient] was amb[ulatory] into [physical

therapy] gym, demo[nstrated] antalgic gait pattern with decreased [right

lower extremity] step length/foot clearance as well as increased trunk flex.”

Tr. at 864–65. Plaintiff reported her pain with walking “comes and goes.” Tr.

at 865.

      Plaintiff underwent EPS on May 23, 2019. Tr. at 845. The study was

negative, suggesting Plaintiff’s symptoms were not caused by SVT. Id.

      Plaintiff followed up with Dr. Quach for neurology pharmacotherapy on

May 30, 2019. Tr. at 1224. She reported little improvement in headaches and

no change in migraines with Erenumab. Tr. at 1225. She endorsed no

significant benefit from Riboflavin. Id. She described daily headaches with

migraines occurring three to five times a week and causing her to vomit once

a week. Id. Dr. Quach was hesitant to titrate Erenumab and recommend

Plaintiff be transitioned to Galcanezumab. Tr. at 1233–34. She indicated

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Plaintiff should wait until one month after her last Erenumab injection to

receive a Galcanezumab injection. Tr. at 1234. She discontinued Riboflavin

and instructed Plaintiff to continue Ducosate and Senna as needed for

constipation, to continue magnesium oxide 420 mg and Duloxetine 60 mg

daily, and to limit over-the-counter ibuprofen use to two or three times per

week. Id.

        On June 5, 2019, state agency medical consultant Christine Thompson,

M.D. (“Dr. Thompson”), reviewed the record and assessed Plaintiff’s physical

RFC as follows: occasionally lift and/or carry 20 pounds; frequently lift and/or

carry 10 pounds; stand and/or walk for a total of about six hours in an eight-

hour workday; sit for a total of about six hours in an eight-hour workday;

occasionally climb ramps/stairs, balance, stoop, kneel, crouch, and crawl;

never climb ladders/ropes/scaffolds; avoid concentrated exposure to extreme

heat and humidity; and avoid even moderate exposure to hazards. Tr. at 90–

94.

        Plaintiff presented to NP Lesieur for routine mental health follow up

on June 5, 2019. Tr. at 1068. NP Lesieur’s findings on MSE were consistent

with prior observations. Tr. at 1076. He instructed Plaintiff to continue

supportive therapy and medications. Id.

        Plaintiff was discharged from physical therapy for lower back pain on

June 24, 2019, as she reported no benefit from treatment. Tr. at 1065–67.

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        On July 17, 2019, Plaintiff complained of stabbing chest pain to the left

of the midsternum that was accompanied by palpitations and occurred at

random a few times a week. Tr. at 1058. She also endorsed right knee pain.

Id. She reported daily episodes of chest tightness, heart racing, and dizziness

that lasted for one to 30 minutes. Tr. at 1059. Dr. Weathers recorded normal

findings on physical exam, aside from mild epigastric tenderness to

palpation. Tr. at 1062. She noted an incidental finding of splenomegaly on

cardiac MRI and ordered an ultrasound. Id. She also ordered chest x-rays and

a proton pump inhibitor to address chest pain. Id. X-rays of Plaintiff’s right

knee showed normal findings. Tr. at 921. Chest x-rays indicated increased

lucency of the right mid-to-upper lung, requiring further evaluation. Tr. at

922.

        Plaintiff presented to NP Lesieur for routine follow up on July 18, 2019.

Tr. at 1046. She acknowledged that her tendency to overthink things might

be exacerbating her anxiety. Tr. at 1047. She complained of stress at home

related to her relationship with her mother-in-law, her husband being away

from home more due to a new job, and the addition of a puppy. Id. NP

Lesieur’s observations on MSE were consistent with prior findings. Tr. at

1054.

        On July 23, 2019, pulmonologist Nicholas J. Pastis, M.D. (“Dr. Pastis”),

reviewed Plaintiff’s records and chest x-rays. Tr. at 946–47. He recommended

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further investigation to rule out cystic lung diseases if Plaintiff was “truly

symptomatic with sharp chest pain.” Tr. at 947. He stated Dr. Weathers

should order a non-contrast chest CT scan and refer Plaintiff to the

pulmonary clinic if the CT scan was abnormal. Id.

      On July 26, 2019, Plaintiff reported no change in frequency of

headaches, but indicated her mood medication might have helped with the

severity. Tr. at 1030. She indicated she continued to feel tired throughout the

day. Id. Dr. Greenblatt recorded normal findings on exam. Tr. at 1039–40. He

noted a diagnosis of fibromyalgia with tenderness to 13/18 American College

of Rheumatology-designated trigger points and indicated Plaintiff should

treat it with Duloxetine 60 mg daily and consider Pregabalin. Tr. at 1041. He

continued Galcanezumab monthly, magnesium oxide 420 mg daily, and

Sumatriptan 50 mg up to nine times per month and stopped CoQ10 due to

lack of benefit. Tr. at 1040. He instructed Plaintiff to continue Motrin for

tension-type headaches, but not to take it more than 15 times per month. Id.

      On July 30, 2019, an abdominal ultrasound showed borderline

splenomegaly. Tr. at 920.

      Plaintiff presented to Wing-Kin Syn, M.D. (“Dr. Syn”), for a hepatology

consultation on August 7, 2019. Tr. at 938. Dr. Syn noted Plaintiff had

incidental splenomegaly on cardiac MRI and borderline splenic enlargement

on a subsequent ultrasound. Tr. at 939. Dr. Syn explained to Plaintiff that

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spleen size was subjective on ultrasound imaging, but that they would need

to exclude liver disease as the reason for her enlarged spleen. Tr. at 944. He

ordered elastography and liver screens to include autoimmune screens. Id.

      Plaintiff returned to PT Wilson for a consultation as to right knee pain

on August 8, 2019. Tr. at 950. She endorsed medial/lateral knee pain that

was shooting into the infrapatellar area and sometimes caused her knee to

buckle. Id. PT Wilson noted no atrophy, decreased bilateral vastus medialis

oblique bulk, intact sensation, increased flexion, rounded shoulders, bilateral

knee valgus, no pes planus, good ankle alignment, medial wear on the inside

of Plaintiff’s shoe, slightly antalgic gait pattern with decreased stand on the

right, grossly normal bilateral lower extremity active ROM with complaints

of pain at end ROM on flexion of the right knee, gross weakness of the

bilateral lower extremities, 3+/5 cogwheeling, and no joint laxity. Tr. at 950–

51. Clarkes (grind, patellar compression) and valgus stress tests were

positive for pain, but all other special tests were negative. Tr. at 951. PT

Wilson recommended physical therapy and home exercises and requested

Plaintiff be fitted for a knee brace. Tr. at 931, 951.

      On August 15, 2019, a second state agency psychological consultant

Michael Neboschick, Ph.D. (“Dr. Neboschick”), considered Listings 12.04,

12.06, and 12.07 and assessed mild difficulties in Plaintiff’s ability to

understand, remember, or apply information and moderate difficulties in her

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abilities to interact with others, adapt or manage oneself, and concentrate,

persist, or maintain pace. Tr. at 105–07. He assessed the same mental RFC

as Dr. Broughan, except he also considered Plaintiff to be moderately limited

in her ability to respond appropriately to changes in the work setting.

Compare Tr. at 94–96, with Tr. at 112–14.

      On August 19, 2019, a second state agency medical consultant, Stacy

Weil, M.D. (“Dr. Weil”), assessed the same physical RFC as Dr. Thompson,

except for determining Plaintiff capable of frequent stooping. Compare Tr. at

90–94, with Tr. at 108–12.

      Plaintiff followed up with NP Lesieur for routine mental health

treatment on August 23, 2019. Tr. at 1430. She reported some improvement

on Methylphenidate, though she continued to feel unrested. Tr. at 1431. She

indicated she had recently been diagnosed with fibromyalgia. Id. NP Lesieur

recommended a prescription for Gabapentin, but Plaintiff declined it, as she

had experienced severe nausea when she tried it in the past. Id. He suggested

a trial of Pregabalin for pain. Id. Plaintiff rated her mood as a four. Id. She

endorsed some improvement with the increased dose of Duloxetine, and

agreed to a further increase to 90 mg. Id. NP Lesieur’s observations on MSE

were consistent with prior visits. Tr. at 1437–38.

      Plaintiff presented for neurology pharmacotherapy on August 26, 2019.

Tr. at 1419. She indicated she did not like the Galcanezumab injections and

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had noticed no improvement in her headaches or migraines. Id. She described

daily headaches, migraines occurring three to five times a week and lasting

two to 12 hours, and intensity ranging from an eight to a 12 on a 10-point

scale. Tr. at 1420. Audrey L. Kivlehan, Pharm. D. (“Dr. Kivlehan”), noted

Plaintiff endorsed compliance, though there was a discrepancy with her refill

history, and she admitted to hesitation with injections and not having

received a Galcanezumab injection for at least more than a month-and-a-half.

Tr. at 1427. Dr. Kivlehan suspected Plaintiff’s high utilization of abortive

medications could be contributing to her headache symptoms. Id. She

instructed Plaintiff to continue monthly Galcanezumab injections and to use

Sumatriptan and ibuprofen on a limited basis. Id.

      On September 11, 2019, Dr. Drummond wrote a letter expressing the

following:

      [Plaintiff] is a patient that I see at the Charleston VA and treat
      for idiopathic hypersomnia. She experiences intrusive sleep on a
      daily basis. She underwent an overnight sleep test in 2011 which
      showed a short sleep latency, short REM latency, and high sleep
      efficiency. These findings can be seen with narcolepsy and
      idiopathic hypersomnia. [A] multiple sleep latency test (MSLT)
      was conducted and confirmed a severe degree of objective
      hypersomnia with a mean sleep latency of 4.1 minutes. [Plaintiff]
      has intrusive sleep events at least once a day and “never has a
      day without it.”

      Medical guidelines for patients with her degree of hypersomnia
      include avoidance of potentially dangerous activities or
      employment where injury to self or others may result from the
      patient suddenly falling asleep. Patients are advised not to drive

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      or operate dangerous equipment if tired or sleepy. For optimal
      performance in a “safe” form of employment, scheduled naps are
      often very helpful.

Tr. at 1416–17.

      On October 16, 2019, NP Lesieur included a letter in Plaintiff’s record

noting the following:

      [Plaintiff] has been treated in the Outpatient Mental Health
      Clinic at the Ralph H. Johnson V.A. Medical Center Since 8/26/13
      and I have worked with [Plaintiff] continuously since 3/6/17. I
      have worked with [Plaintiff] as a Psychiatric/Mental Health
      Nurse Practitioner for treatment of mental health issues utilizing
      medication management and evidence-based psychotherapy. She
      has been diagnosed with Major Depression, Anxiety Disorder,
      and additional medical problems including Fibromyalgia, Chronic
      Migraines, Atrial Tachycardia, Idiopathic Hypersomnia/
      Narcolepsy, and Irritable Bowel Syndrome. [Plaintiff] reports
      continued impairment in many areas of functioning due to
      anxiety, depression, and other medical problems. Her multiple
      complex medical co-morbidities have had a profound impact on
      her mental health, and her disabling mental health condition has
      caused exacerbation of many of her medical problems. She
      reports experiencing severe anxiety and/or panic attacks in
      situations that are moderately stressful, in many situations
      where people are present, and experiences prolonged
      psychological discomfort following these anxiety attacks.
      [Plaintiff] feels she cannot handle stress like she used to, and
      reports that these difficulties have interfered with her
      occupational, social and recreational functioning. She states she
      used to be able to let problems go more quickly; however now she
      dwells on situations and feels upset for hours at a time. She no
      longer engages in the kinds of relaxation activities that she used
      to and describes minimal stress management skills. She typically
      uses escape and withdrawal to manage her anxiety and avoids
      situations that require active engagement. She feels a need to
      carefully structure her environment to achieve some level of
      comfort (e.g., sitting closest to escape routes; sitting behind
      people so they are not aware of her distress, etc.).

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     In addition to dealing with chronic pain from her back,
     fibromyalgia, and migraines, [Plaintiff] continues to struggle with
     depression and chronic fatigue. This makes it extremely difficult
     to get out of bed most days or to sustain effort with many
     everyday tasks. This causes increased frustration, irritability,
     poor concentration/focus, and decreased distress tolerance.

     As a result of these disabilities, she continues to experience
     problems with interpersonal relationships which would prevent
     her from sustaining employment. Her inability to tolerate stress
     and overall lack of effective coping skills makes it impossible to
     maintain employment. In spite of interventions including
     medication management as well as individual therapy, she
     continues to experience psychological problems that significantly
     impact her everyday functioning. Based on these conditions, it is
     clear that [Plaintiff] meets the criteria of being permanently and
     completely disabled. I feel that employment would greatly
     exacerbate her suffering and worsen her already deteriorating
     condition.

Tr. at 1410–11.

     Plaintiff followed up for neurology pharmacotherapy on October 29,

2019. Tr. at 1401. She reported no change in headache symptoms with

Galcanezumab. Id. She indicated she did not like the injections and had

discontinued them following her last injection on September 1. Id. She

indicated she was taking Duloxetine 90 mg daily, Advil Migraine two to three

times a week, as needed, and Sumatriptan 50 mg nine times a month, as

needed. Tr. at 1402. She noted Sumatriptan caused drowsiness, but allowed

her to sleep off her migraines. Id. Pharmacy student Lauren Koller

recommended       Plaintiff   increase   Sumatriptan    to   100   mg    and   take


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Promethazine 25 mg for nausea and vomiting. Tr. at 1408. Dr. Martin

approved the plan. Tr. at 1400, 1408.

      On October 30, 2019, Nabil Atalla, M.D. 5 (“Dr. Atalla”), included the

following note in Plaintiff’s medical record: “[Plaintiff] has a letter from

mental health regarding her disabilities. Migraine is not a medical condition

that interferes with education and employment.” Tr. at 1409.

      On November 21, 2019, Plaintiff reported good benefit and no side

effects from Methylphenidate XR 20 mg, but indicated she still experienced

periods of sleepiness and dozed off easily. Tr. at 1391. Dr. Drummond

increased Methylphenidate to 36 mg. Tr. at 1397.

      Dr. Drummond wrote a second letter on November 26, 2019, that

contained many of the same impressions as his September 11, 2019 letter. Tr.

at 1390–91. He further indicated Plaintiff “dozes off easily” and explained

that the MSLT “includes 5 nap opportunities over the course of a day and the

mean sleep latency is the average time it takes a patient to fall asleep. A

result of 8 minutes or less is considered pathologically sleepy.” See id.

      On November 27, 2019, Plaintiff complained of spontaneous and

unexplained bruising on her arms and ankles. Tr. at 1375. Dr. Syn noted a

liver screen was negative and autoimmune markers were in the normal

5 Dr. Atalla was the attending physician who supervised Dr. Greenblatt, a
resident physician. Dr. Greenblatt’s treatment notes indicate that Dr. Atalla
reviewed and approved his plans of care. See Tr. at 298, 390, 1040.
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range. Id. He explained to Plaintiff that all tests were negative and there was

no evidence of liver damage. Tr. at 1381. He noted the ultrasound finding of

splenomegaly was subjective and often over-interpreted. Id. He indicated he

would consult with a hematologist as to Plaintiff’s bruising, as he found no

clear reason for it. Id.

        Plaintiff also presented to Dr. Martin for neurology pharmacotherapy

on November 27, 2019. Tr. at 1383. Plaintiff reported daily headaches with

migraines several times a week. Id. She indicated she was taking

Sumatriptan 100 mg as needed, Advil migraine two to three times per week,

and Promethazine for nausea, which helped somewhat. Id. She described the

intensity of her headaches as ranging from a three to a seven. Tr. at 1384. Dr.

Martin recommended neurology follow up and offered to retrial medications

or a combination of medications if Plaintiff was interested in doing so. Tr. at

1389.

        C.   The Administrative Proceedings

             1.     The Administrative Hearing

                    a.     Plaintiff’s Testimony

        At the hearing, Plaintiff testified she wore a back brace when she

anticipated walking, sitting, or standing for a long period. Tr. at 38. She

indicated the physical therapist had initially prescribed one two years prior

and had issued a new one a year prior. Tr. at 38, 39. She said she did not use

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it all the time, but wore it for three to four hours a day, depending on her

activity. Id. She stated she wore it on the outside of her clothes, as it was

more comfortable. Tr. at 39.

      Plaintiff testified she lived in a house with her husband and four-year-

old son. Tr. at 39–40. She stated her husband was employed as a finance

manager. Tr. at 40. She indicated her son had some medical problems that

affected his bowels and nail growth. Id. She said she maintained his nails,

administered his medications two to three times a day, and wiped him after

bowel movements. Id.

      Plaintiff testified that she began to experience increased migraines and

back pain in January 2016, following her son’s birth in April 2015. Tr. at 40–

41. Id. She said her migraines caused vomiting, necessitating she visit the

hospital around January 2016. Id. She admitted she worked at Lowe’s for

three or four months in 2016, earning approximately $4,300. Tr. at 41–42.

      Plaintiff said she provided care to her 11-year-old stepson when he

visited every other weekend. Tr. at 43. She stated her four-year-old son had

been enrolled in preschool, but was no longer enrolled due to a problem with

his ears. Id. She admitted she assisted her four-year-old with bathing,

feeding, and personal needs. Id. She said a typical day involved “running

around chasing him.” Id. She indicated she spent a lot of time on the couch

when she was in pain, but got up to clean her son, get him drinks, and play

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with him. Tr. at 44. She said she struggled to perform housework and paced

herself in doing it. Id. She noted she visited the grocery store as necessary.

Id. She stated she cleaned dishes and laundry, cooked, and engaged in

gaming to keep her mind active. Id. She admitted she used a computer and a

smartphone for gaming, social media, and emails. Tr. at 44–45.

      Plaintiff testified she was 5’9” tall and weighed 133 pounds, which

represented an increase from her normal weight of 125 pounds. Tr. at 45. She

stated endometriosis treatment caused her to gain weight. Id. She indicated

she had completed high school and attended two years of college without

having obtained a degree or certification. Tr. at 45–46. She confirmed that

she had served in the Navy from 2007 to 2011 and had received an honorable

discharge. Tr. at 46. She stated she had ordered, tracked, and delivered

supplies and parts for helicopter maintenance in her job as a logistics

specialist. Tr. at 46–47. She indicated she also operated forklifts and loaded

trucks in that position. Tr. at 47. She said she lifted 10 to 20 pounds

frequently and up to 40 pounds occasionally on the job. Tr. at 47–48.

      Plaintiff indicated she was receiving disability benefits from the

Department of Veterans Affairs (“VA”). Tr. at 49. She said she had a 100%

disability rating and received $3,260 per month. Id. She denied having been

found eligible based on individual unemployability. Id. She indicated she had

received no unemployment or workers’ compensation benefits. Id.

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        Plaintiff testified she was right-handed. Tr. at 50. She confirmed that

she had a driver’s license and said she drove herself to the hearing. Id. She

denied smoking, using illegal drugs, and drinking more frequently than on a

social basis. Id. She denied having applied for work since April 2016. Tr. at

50–51. She stated the only work she had performed was as a click worker for

Amazon, completing online surveys and transcribing jobs at her own pace. Tr.

at 51. She said she earned “a cent or two cents” per task, performed the job

for less than an hour a day, and earned less than $50 over the prior year. Tr.

at 51–52.

        Plaintiff testified she had previously worked for about two years for

Animal Medical Center as a boarding kennel technician. Tr. at 52–53. She

stated she had worked for Lowe’s as a cashier and in customer support,

running the returns desk. Tr. at 53. She said she had also been employed by

Wal-Mart, working 30 hours a week as a cashier for about a year. Tr. at 54–

55.

        Plaintiff confirmed that she continued to receive treatment for

depression and anxiety. Tr. at 55. She said she would shake and have

difficulty breathing when around new people. Tr. at 56. She noted she had

first developed panic attacks while working at Lowe’s. Tr. at 57. She said she

did not like to leave her house by herself. Id. She admitted she was able to

take her son to doctors’ appointments, explaining it was easier for her when

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her son was with her because others were focusing on him, as opposed to her.

Id. She said she had some difficulty going to the grocery store by herself and

would get in and out as quickly as possible. Tr. at 57–58. She admitted she

had visited her child’s preschool and interacted with the teachers and others

while he was enrolled. Tr. at 58. She said her medication somewhat relieved

her panic attacks, reducing their severity from a seven or eight to a four to

six. Tr. at 58–59.

      Plaintiff testified she had left her job at Lowe’s to attend college

courses. Tr. at 59. She said she was a full-time student for a year after she

stopped working, earning a 4.0 grade point average. Id. She said she was

“able to pull it together” to complete her coursework, but “was a mess” at

home, fighting with her husband and screaming and yelling because of the

stress. Tr. at 60. She further explained that her anxiety was triggered by

crowded spaces and elevators, as well as being around strangers. Id.

      Plaintiff stated she was receiving treatment for depression and felt as if

she were not good enough. Id. She indicated she had difficulty with

concentration and focus. Id. She admitted she provided care for her son when

she was home during the day, but noted her mother-in-law would take him

on days when she was struggling and in a lot of pain. Tr. at 61. She indicated

her son had spent two to three days per week with her mother-in-law over

the prior seven-month period. Id. She said it was easier to leave her house

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with her husband because she felt as if he could protect her. Id. She stated

her husband and mother-in-law encouraged her to do things around the

house and attend treatment visits. Tr. at 62.

      Plaintiff testified she was taking medication for hypersomnia. Id. She

denied having good benefit from medication, but said it helped somewhat. Tr.

at 63. She stated she felt sleepy, hyper, and shaky at the same time. Id. She

said she continued to have episodes where she was too sleepy to function

three or four times a week. Id. She indicated her son had woke her from sleep

during the day. Id. She denied that her doctor had instructed her to avoid

driving all together, but admitted he had told her to avoid driving when tired

or sleepy. Tr. at 63–64.

      Plaintiff admitted she continued to receive treatment for migraines. Tr.

at 64. She stated her doctor had recently prescribed a new medication, but

she had not yet started it. Id. She said she was experiencing migraines three

to four times a week. Tr. at 65. She indicated she had daily headaches that

would progress to a point that she developed sensitivity to light and sound

and had to lie down in a dark room. Id. She said the pain was sometimes so

intense that it caused her to vomit. Id. She noted she took Sumatriptan, but

it caused her to feel sleepy. Id. She stated her doctor had also prescribed

medication for nausea. Id. She said she called her mother-in-law to pick up

her son on days when she was experiencing migraines. Tr. at 66.

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      Plaintiff stated she had a limp that was possibly associated with

damage to her knees. Id. She said she had knee pain and back pain. Tr. at 67.

She noted her back pain was typically a four, but increased to an eight or

nine on two days a week. Id. She indicated her right knee would “go out from

under [her]” at times. Id. She stated she had informed her primary care

physician that her right leg felt noticeably weaker than her left. Tr. at 68.

She denied side effects from medications other than Sumatriptan. Id. She

said she did not remain in any one position for a long period during a typical

day. Id. She stated she would nap when her son was not home and would be

alone with him from 7:00 AM until 6:00 PM on days when he remained with

her. Tr. at 68–69. She said she stayed alone with her son for a longer period

on Thursdays, when her husband worked until 8:00 PM. Tr. at 69. She

indicated her son did not nap during the day. Id.

                  b.    Vocational Expert Testimony

      Vocational Expert (“VE”) Lavonne Brent reviewed the record and

testified at the hearing. Tr. at 70–80. The VE categorized Plaintiff’s PRW as a

warehouse worker, Dictionary of Occupational Titles (“DOT”) No. 922-687-

058, requiring medium exertion with a specific vocational preparation

(“SVP”) of 2; a logistics, shipping, and receiving clerk, DOT No. 222.387-050,

as requiring medium exertion with an SVP of 5; a cashier, DOT No. 211.462-

010, as requiring light exertion with an SVP of 2; a kennel attendant, DOT

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No. 410.674-010, as requiring medium exertion with an SVP of 4; and a retail

customer support specialist, DOT No. 299.367-010, as requiring light exertion

with an SVP of 4. Tr. at 71–73. The VE confirmed that Plaintiff performed a

composite job as a cashier and a customer support specialist at Lowe’s. Tr. at

73. The ALJ described a hypothetical individual of Plaintiff’s vocational

profile who could perform light work requiring the following: occasionally

climbing ramps and stairs; never climbing ladders, ropes, or scaffolds;

occasionally balancing, stooping, kneeling, and crouching; never crawling,

working around unprotected heights, dangerous machinery, or moving,

mechanical parts; never operating a motor vehicle as an occupational

requirement; avoiding concentrated exposure to humidity, extreme cold, and

extreme heat; no exposure to open flames or open bodies of water; limited to

simple and routine tasks; limited to simple work-related decisions regarding

both use of judgment and changes in a routine work setting; occasionally

interacting with coworkers and supervisors; no tandem or teamwork-type

tasks; no greater than incidental interaction with the public; and off-task no

more frequently than could be accommodated by ordinary breaks. Tr. at 73–

74. The VE testified that the hypothetical individual would be unable to

perform Plaintiff’s PRW. Tr. at 74. The ALJ asked whether there were any

other jobs in the economy that the hypothetical person could perform. Tr. at

75. The VE identified light jobs with an SVP of 2 as a checker, DOT No.

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221.587-018, an inspector, DOT No. 529.687-058, and a sorter, DOT No.

753.587-010, with 130,000, 68,000, and 434,000 positions in the national

economy, respectively. Tr. at 75.

      The ALJ asked the VE to further assume the hypothetical individual

would require a sit/stand option, defined as a brief postural change at or near

the workstation, no more frequently than twice in an hour and for a duration

of no greater than five minutes each time. Id. He asked if the individual

would be able to perform the jobs the VE previously identified. Id. The VE

testified in the affirmative. Id. She clarified that her response was based on

her training and experience, as a sit/stand option was not addressed in the

DOT. Id.

      The ALJ asked the VE to consider that the individual described in the

first hypothetical question would be limited to sedentary work. Tr. at 76. He

confirmed that the individual would be unable to perform Plaintiff’s PRW. Id.

The VE identified sedentary jobs with an SVP of 2 as a cutter, DOT No.

249.587-014, a sorter, DOT No. 521.687-086, and a stuffer, DOT number

731.685-014, with 300,000, 434,000, and 354,000 positions in the national

economy, respectively. Id. He asked the VE to consider a limitation to

sedentary work and the additional restrictions included in the second

hypothetical question. Tr. at 76–77. He asked if the individual would remain

capable of performing the sedentary jobs the VE previously identified. Tr. at

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77. The VE confirmed that the individual would remain capable of

performing the jobs and that her response was based on her training and

experience. Id.

      The ALJ asked the VE to consider that the hypothetical individual’s

cumulative ability to stand and/or walk would be reduced to one hour in an

eight-hour workday. Id. He asked if the additional restriction would

eliminate all sedentary positions. Id. The VE testified it would. Id.

      The ALJ asked the VE to consider that the hypothetical individual

would be limited to standing and/or walking for three hours in an eight-hour

workday. Id. He asked the VE if the restriction would eliminate light work.

Id. The VE stated it would. Id.

      The ALJ asked the VE to describe the ordinary break pattern in the

workplace and to explain at what point an individual’s being off task would

eliminate sedentary and light work. Id. The VE testified that typical breaks

included a 15-minute morning break, a 15-minute afternoon break, and a 30-

minute lunch break and that greater than 10% of time off-task outside of

those breaks would result in an employee’s termination. Tr. at 78.

      The ALJ asked the VE to identify when consistent absenteeism would

likely result in elimination of work. Id. The VE stated absences occurring

more than one day per month would result in termination. Id.



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      The ALJ confirmed with the VE that her testimony was consistent with

the DOT and its companion publications, except as to interactions, a sit/stand

option, time off task, and absenteeism. Tr. at 79. The VE affirmed that the

portion of her testimony not addressed in the DOT was based on her training,

education, and work experience. Id.

      The ALJ asked the VE to consider that the individual would have

marked loss in the ability to perform one of the basic mental demands for

unskilled work. Id. He questioned whether such a restriction would eliminate

all work. Tr. at 79–80. The VE confirmed that it would. Tr. at 80.

      The ALJ asked the VE to consider that the individual would not be able

to perform work on a consistent basis, eight hours a day, and 40 hours a week

at any exertional level. Id. The VE testified this would eliminate all work. Id.

            2.    The ALJ’s Findings

      In his decision, the ALJ made the following findings of fact and

conclusions of law:

      1.    The claimant meets the insured status requirements of the Social
            Security Act through June 30, 2020.
      2.    The claimant has not engaged in substantial gainful activity
            since April 1, 2016, the amended alleged onset date (20 CFR
            404.1571 et seq.).
      3.    The claimant has the following severe impairments: depression,
            degenerative disc disease of the lumbar spine, and migraine
            headaches (20 CFR 404.1520(c)).
      4.    The claimant does not have an impairment or combination of
            impairments that meets or medically equals the severity of one of


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        the listed impairments in 20 CFR Part 404, Subpart P, Appendix
        1 (20 CFR 404.1520(d), 404.1525 and 404.1526).
  5.    After careful consideration of the entire record, the undersigned
        finds that the claimant has the residual functional capacity to
        perform sedentary work as defined in 20 CFR 404.1567(a) except
        occasional climbing ramps and stairs; occasional balancing,
        stooping, kneeling, and crouching; never climbing ladders, ropes,
        or scaffolds; never crawling; never working on unprotected
        heights; never working with dangerous machinery and moving
        mechanical parts; never operating a motor vehicle as an
        occupational requirement; never working around open flames or
        open bodies of water; allowing a sit/stand option defined as a
        brief postural change at or near the work station no more
        frequent than twice in an hour and a duration of no greater than
        5 minutes each; avoiding concentrated exposure to humidity,
        extreme cold, and extreme heat; limited to the performance of
        simple and routine tasks; simple work related decisions as to use
        of judgment and dealing with changes in a routine work setting;
        occasional interaction with supervisors and coworkers (though no
        tandem or teamwork type tasks); no more than incidental contact
        with the public; and time off task is accommodated by ordinary
        breaks.
  6.    The claimant is unable to perform any past relevant work (20
        CFR 404.1565).
  7.    The claimant was born on November 18, 1988 and was 27 years
        old, which is defined as a younger individual age 18–44, on the
        amended alleged disability onset date (20 CFR 404.1563).
  8.    The claimant has at least a high school education and is able to
        communicate in English (20 CFR 404.1564).
  9.    Transferability of job skills is not material to the determination
        of disability because using the Medical-Vocational Rules as a
        framework supports a finding that the claimant is “not disabled,”
        whether or not the claimant has transferable job skills (See SSR
        82-41 and 20 CFR Part 404, Subpart P, Appendix 2).
  10.   Considering the claimant’s age, education, work experience, and
        residual functional capacity, there are jobs that exist in
        significant numbers in the national economy that the claimant
        can perform (20 CFR 404.1569 and 404.1569(a)).
  11.   The claimant has not been under a disability, as defined in the
        Social Security Act, from April 1, 2016, through the date of this
        decision (20 CFR 404.1520(g)).

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Tr. at 14–25.

II.     Discussion

        Plaintiff alleges the Commissioner erred for the following reasons:

        1)    the ALJ erred in considering the severity of and limitations
              imposed by idiopathic hypersomnia at step two and in the RFC
              assessment;

        2)    the ALJ failed to evaluate the combined effect of all Plaintiff’s
              impairments; and

        3)    the ALJ improperly evaluated Plaintiff’s subjective allegations.

        The Commissioner counters that substantial evidence supports the

ALJ’s findings and that the ALJ committed no legal error in his decision.

        A.    Legal Framework

              1.     The Commissioner’s Determination-of-Disability Process

        The Act provides that disability benefits shall be available to those

persons insured for benefits, who are not of retirement age, who properly

apply, and who are under a “disability.” 42 U.S.C. § 423(a). Section

423(d)(1)(A) defines disability as:

        the inability to engage in any substantial gainful activity by
        reason of any medically determinable physical or mental
        impairment which can be expected to result in death or which
        has lasted or can be expected to last for at least 12 consecutive
        months.

42 U.S.C. § 423(d)(1)(A).



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      To facilitate a uniform and efficient processing of disability claims,

regulations promulgated under the Act have reduced the statutory definition

of disability to a series of five sequential questions. See, e.g., Heckler v.

Campbell, 461 U.S. 458, 460 (1983) (discussing considerations and noting

“need for efficiency” in considering disability claims). An examiner must

consider the following: (1) whether the claimant is engaged in substantial

gainful activity; (2) whether she has a severe impairment; (3) whether that

impairment meets or equals an impairment included in the Listings; 6 (4)

whether such impairment prevents claimant from performing PRW; 7 and (5)

whether the impairment prevents her from doing substantial gainful

employment. See 20 C.F.R. § 404.1520. These considerations are sometimes

referred to as the “five steps” of the Commissioner’s disability analysis. If a

6 The Commissioner’s regulations include an extensive list of impairments
(“the Listings” or “Listed impairments”) the Agency considers disabling
without the need to assess whether there are any jobs a claimant could do.
The Agency considers the Listed impairments, found at 20 C.F.R. part 404,
subpart P, Appendix 1, severe enough to prevent all gainful activity. 20
C.F.R. § 404.1525. If the medical evidence shows a claimant meets or equals
all criteria of any of the Listed impairments for at least one year, she will be
found disabled without further assessment. 20 C.F.R. § 404.1520(a)(4)(iii). To
meet or equal one of these Listings, the claimant must establish that her
impairments match several specific criteria or are “at least equal in severity
and duration to [those] criteria.” 20 C.F.R. § 404.1526; Sullivan v. Zebley, 493
U.S. 521, 530 (1990); see Bowen v. Yuckert, 482 U.S. 137, 146 (1987) (noting
the burden is on claimant to establish his impairment is disabling at Step 3).
7 In the event the examiner does not find a claimant disabled at the third step

and does not have sufficient information about the claimant’s past relevant
work to make a finding at the fourth step, he may proceed to the fifth step of
the sequential evaluation process pursuant to 20 C.F.R. § 404.1520(h).
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decision regarding disability may be made at any step, no further inquiry is

necessary. 20 C.F.R. § 404.1520(a)(4) (providing that if Commissioner can

find claimant disabled or not disabled at a step, Commissioner makes

determination and does not go on to the next step).

      A claimant is not disabled within the meaning of the Act if she can

return to PRW as it is customarily performed in the economy or as the

claimant actually performed the work. See 20 C.F.R. Subpart P, §

404.1520(a), (b); Social Security Ruling (“SSR”) 82-62 (1982). The claimant

bears the burden of establishing her inability to work within the meaning of

the Act. 42 U.S.C. § 423(d)(5).

      Once an individual has made a prima facie showing of disability by

establishing the inability to return to PRW, the burden shifts to the

Commissioner to come forward with evidence that claimant can perform

alternative work and that such work exists in the economy. To satisfy that

burden, the Commissioner may obtain testimony from a VE demonstrating

the existence of jobs available in the national economy that claimant can

perform despite the existence of impairments that prevent the return to

PRW. Walls v. Barnhart, 296 F.3d 287, 290 (4th Cir. 2002). If the

Commissioner satisfies that burden, the claimant must then establish that

she is unable to perform other work. Hall v. Harris, 658 F.2d 260, 264–65



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(4th Cir. 1981); see generally Bowen v. Yuckert, 482 U.S. 137, 146 n.5 (1987)

(regarding burdens of proof).

            2.    The Court’s Standard of Review

      The Act permits a claimant to obtain judicial review of “any final

decision of the Commissioner [] made after a hearing to which he was a

party.” 42 U.S.C. § 405(g). The scope of that federal court review is narrowly-

tailored to determine whether the findings of the Commissioner are

supported by substantial evidence and whether the Commissioner applied

the proper legal standard in evaluating the claimant’s case. See Richardson

v. Perales, 402 U.S. 389, 390 (1971); Walls, 296 F.3d at 290 (citing Hays v.

Sullivan, 907 F.2d 1453, 1456 (4th Cir. 1990)).

      The court’s function is not to “try these cases de novo or resolve mere

conflicts in the evidence.” Vitek v. Finch, 438 F.2d 1157, 1157–58 (4th Cir.

1971); see Pyles v. Bowen, 849 F.2d 846, 848 (4th Cir. 1988) (citing Smith v.

Schweiker, 795 F.2d 343, 345 (4th Cir. 1986)). Rather, the court must uphold

the Commissioner’s decision if it is supported by substantial evidence.

“Substantial evidence” is “such relevant evidence as a reasonable mind might

accept as adequate to support a conclusion.” Richardson, 402 U.S. at 390,

401; Johnson v. Barnhart, 434 F.3d 650, 653 (4th Cir. 2005). Thus, the court

must carefully scrutinize the entire record to assure there is a sound

foundation for the Commissioner’s findings and that his conclusion is

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rational. See Vitek, 438 F.2d at 1157–58; see also Thomas v. Celebrezze, 331

F.2d 541, 543 (4th Cir. 1964). If there is substantial evidence to support the

decision of the Commissioner, that decision must be affirmed “even should

the court disagree with such decision.” Blalock v. Richardson, 483 F.2d 773,

775 (4th Cir. 1972).

      B.    Analysis

            1.    Idiopathic Hypersomnia

      Plaintiff argues the ALJ erred in assessing idiopathic hypersomnia as

non-severe at step two. [ECF No. 18 at 17]. She maintains the evidence

contradicts the ALJ’s finding that the impairment caused only minor

interruption to her performance of workplace activities. Id. She contends the

ALJ’s inclusion in the RFC assessment of restrictions as to heights, hazards,

and heat did not adequately address the restrictions imposed by the

impairment. Id. at 17–18.

      The Commissioner argues the ALJ properly concluded idiopathic

hypersomnia did not significantly limit Plaintiff’s ability to perform basic

work activities, assessed other impairments as severe at step two, and

considered idiopathic hypersomnia in subsequent steps. [ECF No. 20 at 11].

He maintains that any error in assessing the severity of the impairment was

remedied by the ALJ’s consideration of it in assessing Plaintiff’s RFC. Id. at

12. He contends the ALJ was not required to specifically consider Dr.

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Drummond’s statement that scheduled naps were “often very helpful” in

optimizing workplace performance. Id. He claims the ALJ sufficiently

concluded that the evidence supported routine breaks and environmental

restrictions to accommodate Plaintiff’s hypersomnia. Id.

      A severe impairment “significantly limits [a claimant’s] physical or

mental ability to do basic work activities.” 20 C.F.R. § 404.1520(c). “An

impairment or combination of impairments is found ‘not severe’ and a finding

of ‘not disabled’ is made at [step two] when the medical evidence establishes

only a slight abnormality or a combination of slight abnormalities which

would have no more than a minimal effect on an individual’s ability to work

even if the individual’s age, education, and work experience were specifically

considered (i.e., the person’s impairment(s) has no more than a minimal

effect on his or her physical or mental ability(ies) to perform basic work

activities).” SSR 85-28. Examples of basic work activities include: (1) physical

functions such as walking, standing, sitting, lifting, pushing, pulling,

reaching, carrying, or handling; (2) capacities for seeing, hearing, and

speaking; (3) understanding, carrying out, and remembering simple

instructions; (4) use of judgment; (5) responding appropriately to supervision,

coworkers, and usual work situations; and (6) dealing with changes in a work

setting. 20 C.F.R. § 404.1522(b).

      The ALJ addressed idiopathic hypersomnia at step two as follows:

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      The undersigned finds that the claimant’s medically
      determinable impairment of idiopathic hypersomnia is nonsevere
      because it does not significantly limit the ability to perform basic
      work activities for 12 consecutive months (SSR 85-28). The
      medical evidence suggests no more than slight abnormalities
      related to idiopathic hypersomnia, such as excessive daytime
      sleepiness, sudden loss of muscle tone, sleep paralysis, or
      hallucinations (see SSR 85-28). Accordingly, the undersigned
      finds this impairment is nonsevere.

Tr. at 15.

      The record does not support the ALJ’s conclusion that idiopathic

hypersomnia had not significantly limited Plaintiff’s ability to perform basic

work activities for 12 consecutive months. The record contains evidence that

arguably suggested idiopathic hypersomnia affected Plaintiff’s ability to

remain awake to complete a normal workday. See Tr. at 63 (reflecting

Plaintiff’s testimony that she felt too sleepy to function on three or four days

per week and that her son had woke her from sleep at times); Tr. at 473, 730,

1030 (noting Plaintiff’s complaints of feeling sleepy during the day, despite

having slept for a significant period the prior night). In June 2016, the MSLT

results showed that Plaintiff napped five times during the test, with sleep

latency in as little as two minutes and mean sleep latency of 4.1 minutes. Tr.

at 772–73. As a practical matter, Plaintiff fell asleep five times, in as little as

two minutes, throughout the course of a day when she had slept during the

prior night. Dr. Drummond explained that the MSLT results showed Plaintiff

was pathologically sleepy, given her mean sleep latency of less than eight

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minutes. Tr. at 1391. Although the ability to stay asleep is not included in the

examples of basic work activities in the regulations, it is reasonable to

assume an individual who is excessively sleepy or unable to remain awake

throughout the course of an eight-hour workday would be significantly

limited in her physical and mental abilities to do basic work activities. Thus,

the ALJ erred in characterizing idiopathic hypersomnia as a non-severe

impairment.

      Should an ALJ err in evaluating the severity of a claimant’s

impairment at step two, his advancement to subsequent steps may render his

error harmless. See Carpenter v. Astrue, 537 F.3d 1264, 1266 (10th Cir.

2008) (“[A]ny error here became harmless when the ALJ reached the proper

conclusion that [claimant] could not be denied benefits conclusively at step

two and proceeded to the next step of the evaluation sequence.”). An ALJ may

remedy an error in evaluating the severity of a claimant’s impairment by

considering its functional limitations in assessing her RFC. See Washington

v. Astrue, 98 F. Supp. 2d 562, 580 (D.S.C. 2010) (providing that the court

“agrees with other courts that find no reversible error where the ALJ does not

find an impairment severe at step two provided that he or she considers that

impairment in subsequent steps”).

      A claimant’s RFC represents “the most [she] can still do despite [her]

limitations.” 20 C.F.R. § 404.1545(a)(1). The ALJ must “consider all of the

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claimant’s ‘physical and mental impairments, severe and otherwise, and

determine, on a function-by-function basis, how they affect [the claimant’s]

ability to work.’” Thomas v. Berryhill, 916 F.3d 307, 311 (4th Cir. 2019)

(quoting Monroe v. Colvin, 826 F.3d 176, 188 (4th Cir. 2016)).

      “[A] proper RFC analysis has three components: (1) evidence, (2) logical

explanation, and (3) conclusion.” Id. at 311. The ALJ should consider all the

relevant evidence and account for all the claimant’s medically-determinable

impairments in the RFC assessment. 20 C.F.R. § 404.1545(a). He must

include a narrative discussion that cites “specific medical facts (e.g.,

laboratory findings) and non-medical evidence (e.g., daily activities,

observations)” and explains how all the relevant evidence supports each

conclusion. SSR 96-8p, 1996 WL 374184, at *7. He must also explain how any

material inconsistencies or ambiguities in the record were resolved.” SSR 16-

3p, 2016 WL 1119029, at *7. “A necessary predicate to engaging in

substantial evidence review is a record of the basis for the ALJ’s ruling,”

including “a discussion of which evidence the ALJ found credible and why,

and specific application of the pertinent legal requirements to the record

evidence.” Radford v. Colvin, 734 F.3d 288 (4th Cir. 2013). In Mascio v.

Colvin, 780 F.3d 632, 636 (4th Cir. 2015), the court provided that “‘[r]emand

may be appropriate . . . where an ALJ fails to assess a claimant’s capacity to

perform relevant functions, despite contradictory evidence in the record, or

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where other inadequacies in the ALJ’s analysis frustrate meaningful review.’”

(quoting Cichocki v. Astrue, 729 F.3d 172, 177 (2d Cir. 2013).

      In discussing the RFC assessment, the ALJ acknowledged Plaintiff’s

testimony that her medication for hypersomnia “help[ed] somewhat,” but she

“continue[d] to fall asleep at least 3 to 4 times per week.” Tr. at 18. He

further discussed Plaintiff’s idiopathic hypersomnia as follows:

      The claimant receives treatment in the sleep apnea clinic for
      complaints of excessive daytime sleepiness. However, this
      treatment is infrequent, with routine follow up occurring every 6
      months to 1 year. A 2011 sleep test was consistent with
      narcolepsy and idiopathic hypersomnia. A sleep latency test
      confirmed a severe degree of objective hypersomnia. While her
      treating physician, Dr. Drummond, indicated a diagnosis of
      narcolepsy with residual hypersomnia at one point, his more
      recent statements note that the claimant is treated for idiopathic
      hypersomnia (Exhibits 1F, 6F, and 7F).

Tr. at 20–21. The ALJ summarized Dr. Drummond’s letters, finding his

“opinion to be persuasive regarding the need for environmental restrictions

for safety, as it [was] well supported and consistent with treatment records.”

Tr. at 22–23. He wrote: “The restrictions against exposure to heights and

hazards, as well as the need to avoid extreme heat that may predispose the

claimant to drowsiness are included, out of an abundance of caution, due to

her non-severe impairment of hypersomnia.” Id.

      Although the ALJ included some environmental restrictions to address

Plaintiff’s idiopathic hypersomnia, his explanation for his RFC assessment


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fails to reconcile evidence of greater restrictions. The ALJ acknowledged Dr.

Drummond’s opinion that “[s]cheduled naps were often helpful for optimal

performance in a ‘safe’ form of employment.” Tr. at 23. He also recognized

evidence that appeared to support this element of his opinion, noting that the

record showed that Plaintiff had “periods of sleepiness and dozed off easily.”

See id. The ALJ credited Dr. Drummond’s opinion to the extent that he

included environmental restrictions for safety, but neither rejected his

opinion as to a need for scheduled naps nor included such a provision in the

RFC assessment, despite his recognition that the record showed Plaintiff to

have “periods of sleepiness and to “doze[ ] off easily.”

      The undersigned rejects the Commissioner’s argument that the ALJ

found Plaintiff’s idiopathic hypersomnia could be accommodated through

ordinary breaks. The ALJ concluded that Plaintiff’s mental impairments

could be accommodated by normal breaks, as indicated by his reliance on the

state agency psychological consultants’ opinions. See Tr. at 21 (discussing

and finding generally persuasive Drs. Broughan’s and Neboschick’s opinions

that Plaintiff could maintain concentration and attention for periods of at

least two hours). He did not explicitly reject Plaintiff’s testimony or Dr.

Drummond’s opinion as to time off-task due to idiopathic hypersomnia.

Although he noted that Plaintiff had infrequent treatment in the sleep apnea

clinic occurring every six months to a year and that there was some

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discrepancy as to whether her diagnosis was narcolepsy or idiopathic

hypersomnia, he did not explain how such evidence would undermine

Plaintiff’s allegations or Dr. Drummond’s opinion. See Tr. at 20–21. Thus, in

contravention of SSR 16-3p, the ALJ failed to explain how he resolved the

material inconsistency between Dr. Drummond’s opinion and the RFC

assessment, which did not allow for rest periods in addition to normal breaks.

      Given the ALJ’s failure to adequately consider idiopathic hypersomnia

at step two and in subsequent steps, the undersigned recommends the court

remand the case for further consideration of the impairment in accordance

with the applicable regulations and SSRs.

            2.    Combined Effect of Impairments

      Plaintiff argues the ALJ failed to evaluate the combined effect of all her

impairments. [ECF No. 18 at 18]. She maintains the ALJ’s matching of

impairments to restrictions failed to account for the combined effect of her

severe and non-severe physical and mental impairments. Id. at 19–20.

      The Commissioner argues the ALJ evaluated the combined effect of

Plaintiff’s impairments. [ECF No. 20 at 13–15]. He maintains the ALJ’s

separate consideration of each of Plaintiff’s impairments was sufficient to

demonstrate that he considered their combined effect. Id. at 13–14. He

contends that even if the ALJ’s consideration of Plaintiff’s impairments was



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fragmentized, Plaintiff has not demonstrated that his evaluation of their

effects resulted in error. Id. at 14–15.

      If a claimant has multiple impairments, the ALJ is required to

“consider the combined effect of all [her] impairments without regard to

whether any such impairment, if considered separately would be of sufficient

severity.” 20 C.F.R. § 404.1523(c). In Walker v. Bowen, 889 F.2d 47, 49–50

(4th Cir. 1989), the court described the ALJ’s error as follows:

      After finding that the claimant failed to meet a listing, the ALJ
      went on to discuss each of claimant’s impairments but failed to
      analyze the cumulative effect the impairments had on the
      claimant’s ability to work. He simply noted the effect or noneffect
      of each and found that the claimant could perform light and
      sedentary work. It is axiomatic that disability may result from a
      number of impairments which, taken separately, might not be
      disabling, but whose total effect, taken together, is to render the
      claimant unable to engage in substantial gainful activity. In
      recognizing this principle, this court has on numerous occasions
      held that in evaluating the effect[] of various impairments upon a
      disability benefit claimant, the Secretary must consider the
      combined effect of a claimant’s impairments and not fragmentize
      them. Richenbach v. Heckler, 808 F.2d 309 (4th Cir. 1985);
      DeLoatche v. Heckler, 715 F.2d 148 (4th Cir. 1983); Oppenheim
      v. Finch, 495 F.2d 396 (4th Cir. 1974); Hicks v. Gardner, 393 F.2d
      299 (4th Cir. 1968); Griggs v. Schweiker, 545 F. Supp. 475
      (S.D.W.Va. 1982).

It must be “clear from the decision as a whole that the Commissioner

considered the combined effect of a claimant’s impairments.” Brown v.

Astrue, C/A No. 0:10-cv-1584-RBH, 2012 WL 3716792, at *6 (D.S.C. Aug. 28,

2012) (citing Green v. Chater, 64 F.3d 657, 1995 WL 478032, at *3 (4th Cir.


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1995)). However, absent evidence to the contrary, the court should accept the

ALJ’s assertion that he considered the combined effect of the claimant’s

impairments. See Reid v. Commissioner of Social Sec., 769 F.3d 861, 865 (4th

Cir. 2014); see also Hackett v. Barnhart, 395 F.3d 1168, 1173 (10th Cir. 2005)

(“[O]ur general practice, which we see no reason to depart from here, is to

take a lower tribunal at its word when it declares that it has considered a

matter.”).

      The undersigned notes that in Reid, the court cited to the following

excerpt from the ALJ’s decision:

      [T]he undersigned has considered the combined effects of the
      claimant’s impairments, both severe and non-severe, and has
      determined that the findings related to them are not at least
      equal in severity to those described in Listings 1.00, 4.00, 11.00,
      and 12.00. In this consideration, the undersigned has specifically
      considered the cumulative effects of the impairments on the
      claimant’s ability to work. See also Walker v. Bowen, 889 F.2d 47
      (4th Cir. 1989). The undersigned notes that the claimant’s heart
      condition was asymptomatic despite his history of obesity. Even
      with consideration of the combined effects of the claimant’s
      obesity, treatment records fail to indicate that the claimant’s
      degenerative disc disease status post fusion resulted in an
      inability to ambulate or perform fine or gross motor movements
      effectively. The claimant’s physical impairments obviously
      affected his mental health condition. Nevertheless, when
      considered in conjunction, no further limitation in the claimant’s
      mental health condition, other than those discussed above, are
      warranted.




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Reid, 769 F.3d 861, 866 (emphasis added by court). Thus, in Reid, the ALJ

provided a specific explanation as to how he considered the combined effect of

all the claimant’s physical and mental impairments.

      Here, the ALJ asserted that he had considered the combined effect of

Plaintiff’s impairments, writing:

      Finally, the undersigned has considered the combined effect of
      the claimant’s impairments and the possibility that the combined
      effect can be greater than each of the impairments considered
      separately. 20 CFR 404.1526(b)(3) and 416.926(b)(3) and Walker
      v. Bowen, 889 F.2d 47 (4th Cir. 1989). The claimant’s
      impairments have been considered when assessing the claim
      under the listings and during the other steps of the sequential
      evaluation process, including when assessing the claimant’s
      residual functional capacity. While the combination of the
      claimant’s impairments imposes some limitations, there is no
      indication that the combination of the claimant’s impairments
      imposes greater limitations than those inherent in the residual
      functional capacity stated below.

Tr. at 17. However, unlike that of the ALJ in Reid, his statement is more

akin to boilerplate language.

      A review of the ALJ’s decision as a whole reveals some contemplation

as to how Plaintiff’s impairments affected her in conjunction. The ALJ

separately discussed evidence as to back and bilateral leg pain, headaches

and migraines, persistent depressive disorder and anxiety disorder, and

idiopathic hypersomnia. Tr. at 19–21. He addressed the medical opinions of

record, noting he found generally persuasive the state agency psychological

consultants’ opinions that Plaintiff’s mental impairments would allow her to

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understand and remember simple instructions, carry out short and simple

instructions, perform routine tasks, maintain concentration and attention for

periods of at least two hours, and perform best in situations that did not

require ongoing interaction with the public, working in close proximity or

coordination with coworkers, or adapting to frequent requests for change. Tr.

at 21. The ALJ discussed NP Lesieur’s opinion, rejecting that portion in

which he opined that Plaintiff was unable to work as a finding on an issue

reserved to the Commissioner and crediting it “in determining that the

claimant’s mental symptoms require limitations as set forth above, to

decrease the claimant’s exposure to stressful situations and other people.” Tr.

at 21–22. He did not find the state agency medical consultants’ opinions to be

persuasive, as he determined “the combined effects of the claimant’s

impairments reasonably limit[ed] her to a restricted range of work at the

sedentary level.” Tr. at 21. However, in so stating, the ALJ referred only to

Plaintiff’s degenerative disc disease as “support[ing] the restriction to

sedentary work,” and failed to reference any other impairment that would be

accommodated by the restriction. See id. He addressed Dr. Atalla’s opinion in

discussing Plaintiff’s headaches and migraines, finding it partially persuasive

in concluding they contributed to Plaintiff’s environmental and mental

restrictions, but did not prevent all work activity. Tr. at 22. As discussed

above, the ALJ considered Dr. Drummond’s opinion as to the effects of

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idiopathic hypersomnia in limiting Plaintiff’s exposure to hazards, heights,

and extreme heat. Tr. at 22–23. Thus, the ALJ articulated his consideration

of the combined effect of Plaintiff’s migraines on her mental impairments, but

did not explicitly address how he considered the combined effect of other

impairments.

      The ALJ’s consideration would be sufficient if the record did not

contain unresolved evidence that Plaintiff’s impairments created additional

restrictions when considered in combination. Several of Plaintiff’s medical

providers suggested Plaintiff’s impairments tended to exacerbate other

impairments. See Tr. at 701 (providing Dr. Tabor’s observation that Plaintiff

was “of highly anxious nature” and her anxiety “contribute[d] to her pain

issues”); Tr. at 733 (indicating Dr. Drummond’s impression that Plaintiff’s

sleep disturbance might be contributing to her headaches); Tr. at 1410

(containing NP Lesieur’s statement that Plaintiff’s “multiple complex medical

co-morbidities have had a profound impact on her mental health, and her

disabling mental health condition has caused exacerbation of many of her

medical problems”). Despite his statement that he considered the combined

effect of Plaintiff’s impairments, the ALJ’s decision does not reflect his

consideration of Drs. Tabor’s and Drummond’s and NP Lesieur’s impressions

as to the interaction between Plaintiff’s multiple impairments. Given this

deficiency, the undersigned recommends the court find the ALJ did not

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consider Plaintiff’s impairments in combination as required pursuant to 20

C.F.R. § 404.1523(c) and the Fourth Circuit’s decision in Walker.

            3.    Subjective Allegations

      Plaintiff argues the ALJ did not properly evaluate her subjective

complaints. [ECF No. 18 at 21]. She maintains the ALJ mischaracterized the

evidence as to the care she provided for her son. Id. at 22. She contends the

ALJ failed to consider all the regulatory criteria pertinent to assessment of

her subjective allegations or to address her specific complaints. Id.

      The Commissioner argues the ALJ followed the regulatory process in

evaluating Plaintiff’s subjective allegations. [ECF No. 20 at 15]. He

maintains the ALJ properly considered Plaintiff’s statements as to her ADLs

and relief provided by medications, diagnostic studies, physical exam

findings, routine treatment, and expert opinion in evaluating her subjective

allegations. Id. at 15–16.

      “[A]n ALJ follows a two-step analysis when considering a claimant’s

subjective statements about impairments and symptoms.” Lewis v. Berryhill,

858 F.3d 858, 865–66 (4th Cir. 2017) (citing 20 C.F.R. § 404.1529(b), (c)).

“First, the ALJ looks for objective medical evidence showing a condition that

could reasonably produce the alleged symptoms.” Id. at 866 (citing 20 C.F.R.

§ 404.1529(b)). The ALJ proceeds to the second step only if the claimant’s

impairments could reasonably produce the symptoms she alleges. Id. At the

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second step, the ALJ must “evaluate the intensity, persistence, and limiting

effects of the claimant’s symptoms to determine the extent to which they

limit [her] ability to perform basic work activities.” Id. (citing 20 C.F.R. §

404.1529(c)). He is to “evaluate whether the [claimant’s] statements are

consistent with objective medical evidence and the other evidence.” SSR 16-

3p, 2016 WL 1119029, at *6 (2016). However, he cannot consider the

claimant’s symptoms “based solely on objective medical evidence unless that

objective medical evidence supports a finding that the individual is disabled.”

Id. at *4; see also Arakas, 983 F.3d at 98 (“We also reiterate the long-

standing law in our circuit that disability claimants are entitled to rely

exclusively on subjective evidence to prove the severity, persistence, and

limiting effects of their symptoms.”).

      In evaluating the limiting effect of a claimant’s alleged symptoms, the

ALJ is to consider other evidence to include “statements from the individual,

medical sources, and any other sources that might have information about

the individual’s symptoms . . . as well as the factors set forth in [the]

regulations.” SSR 16-3p, 2016 WL 1119029, at *5; see also 20 C.F.R. §

404.1529(c) (listing factors to consider, such as ADLs; the location, duration,

frequency, and intensity of pain or other symptoms; any measures other than

treatment an individual uses or has used to relieve pain or other symptoms;

and any other factors concerning an individual’s functional limitations and

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restrictions due to pain or other symptoms). The ALJ is required to explain

which of the claimant’s symptoms he found “consistent or inconsistent with

the evidence in [the] record and how [his] evaluation of the individual’s

symptoms led to [his] conclusions.” SSR 16-3p, 2016 WL 1119029, at *8. He

must evaluate the “individual’s symptoms considering all the evidence in his

or her record.” Id.

      The ALJ found that Plaintiff’s medically-determinable impairments

could reasonably be expected to cause some of her alleged symptoms, but that

her statements concerning the intensity, persistence, and limiting effects of

those symptoms were not entirely consistent with the medical and other

evidence of record. Tr. at 19.

      The ALJ’s decision reflects his consideration of multiple factors in

evaluating Plaintiff’s subjective allegations. He noted neurosurgery was not

indicated to address Plaintiff’s back pain; her primary care provider’s

recommendation of conservative treatment for an acute exacerbation of back

pain; observations that she ambulated without difficulty, had full lumbar

ROM, and had no neurological deficits; her failure to follow up with the

interdisciplinary pain team; stable MSEs; her inability to continue CBT

because she had to focus on providing care for her son; and medical opinions

suggesting she retained the ability to perform some work activity. Tr. at 19–

22. The ALJ emphasized that Plaintiff’s ability to provide daily care to a

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young child with special needs undermined her subjective allegations as to

the disabling effects of her symptoms, writing:

      Treatment records document the claimant’s report that she has
      difficulty leaving her son alone with her mother-in-law. She
      admits that she is protective of her son due to his medical
      condition. On multiple occasions, the claimant indicated that she
      is a full-time caregiver for her young son (Exhibits 1F, 2F, 6F,
      and 7F). Childcare, especially for a child with specialized medical
      needs, can be quite demanding both physically and emotionally,
      and is not entirely consistent with the claimant’s allegations of
      symptoms so severe as to be disabling.

Tr. at 20.

      In Woods v. Berryhill, 888 F.3d 686, 694 (4th Cir. 2018), the court

recognized that “[a]n ALJ may not consider the type of activities a claimant

can perform without also considering the extent to which she can perform

them.” Here, the ALJ did not neglect to consider the extent to which Plaintiff

could care for her son. He acknowledged Plaintiff’s testimony that her son

had “medical needs that require[d] her to monitor his nails, medicate him

several times a day, and help him with toileting”; she typically spent her day

caring for her son; her “mother-in-law care[d] for her son about 2 to 3 days

per week, for about the last 7 months”; she “call[ed] her mother-in-law to take

her son when she develop[ed] a migraine and ha[d] to lay down”; and “[s]he

[was] home alone with her son from 7:00 am to 6:00 pm most days while her

husband work[ed].” Tr. at 18–19. Although the ALJ recited this testimony, he

failed to reconcile it with his conclusion that Plaintiff’s subjective allegations

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were not entirely consistent with the record. Plaintiff’s allegations pertain, in

part, to whether she could remain on task and complete a normal workday

and workweek. She testified that she had to call her mother-in-law to pick up

her son two to three times a week because she was experiencing migraines,

struggling, or in a lot of pain. Tr. at 61, 66. This portion of her testimony

arguably supports her allegation that she could not remain on task and

complete a normal workday and workweek. Because the ALJ did not

reconcile this evidence with his conclusion, his reliance on Plaintiff’s ability

to care for her young son is not sufficient in and of itself to support his

rejection of her subjective allegations. Although the ALJ cited other evidence

in support of his rejection of some of Plaintiff’s subjective allegations, he did

not explain how this evidence was contrary to her allegations that she would

be off-task and unable to complete a normal workday. Because the ALJ failed

to explain how his evaluation of Plaintiff’s symptoms led to his conclusion, he

did not comply with the provisions of SSR 16-3p, and his conclusion is not

supported by substantial evidence.

III.     Conclusion and Recommendation

         The court’s function is not to substitute its own judgment for that of the

ALJ, but to determine whether the ALJ’s decision is supported as a matter of

fact and law. Based on the foregoing, the court cannot determine that the

Commissioner’s decision is supported by substantial evidence. Therefore, the

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undersigned recommends, pursuant to the power of the court to enter a

judgment affirming, modifying, or reversing the Commissioner’s decision

with remand in Social Security actions under sentence four of 42 U.S.C. §

405(g), that this matter be reversed and remanded for further administrative

proceedings.

     IT IS SO RECOMMENDED.


May 25, 2021                                 Shiva V. Hodges
Columbia, South Carolina                     United States Magistrate Judge

 The parties are directed to note the important information in the attached
   “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to
Federal Rule of Civil Procedure 5 may be accomplished by mailing objections
to:

                           Robin L. Blume, Clerk
                        United States District Court
                            901 Richland Street
                       Columbia, South Carolina 29201

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);
Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir.
1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).
